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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO: 0:20-CV-21993-COOKE/GOODMAN

MARVELI RAYO,
Plaintiff,

Vs.

LC. SYSTEM, INC., &

MD NOW MEDICAL CENTERS, INC.
Defendants.

/

DEFENDANT MD NOW’s RESPONSE TO PLAINTIFE’S STATEMENT OF
CLAIM

Defendant MD NOW MEDICAL CENTERS, INC. (“MD Now”) in accordance with the
Federal Rules of Civil Procedure and in accordance with the Court’s Order of Referral and Order
Regarding Court Practices and Procedures [ECF-19] files this their Response to the Plaintiff's
Statement of Claim [ECF-21] served on Defendant MD NOW on July 24, 2020; and in support
thereof states.

DENIAL OF PLAINTIFF’S STATEMENT OF CLAIM

im The Plaintiff claims that Defendant MD Now billed her and sought collection
efforts through IC Systems, for services that she received regarding her workers’ compensation
injury on January 15,2019. These allegations are denied in their entirety.

2. On January 13, 2019, MD Now provided the Plaintiff with services related to her
workers compensation injury, wherein she was provided with the pre-operative clearance she

sought from MD NOW. This is supported by the documents attached hereto

 
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[MD.NOW.DOS.011319.Bates-1-34.] Any fees for these services were billed to the Plaintiff's
Workers Compensation carrier or employer and not the Plaintiff.

Be On January 15, 2019, MD Now provided medical services unrelated to the
workers compensation pre-operative evaluation and injury, at the request of the Plaintiff as she
did not have a current primary care physician and needed to address, seek treatment for and
obtain prescription medications for her non-work-related health issues (i.e. Type 2 Diabetes
Mellitus without complications; Hypertension; Iron Deficiency Anemia.). The billing and
collection attempts at issue in this action are related to the medical services that the Plaintiff
requested and received — not the Workers Compensation case. This is supported by the
documents attached hereto [MD.NOW.DOS.011519.Bates-1-19.]

4. The Plaintiff knew that she was responsible for her non-workers compensation
medical treatment as she knowingly requested this treatment, acknowledged her financial
responsibility for this treatment, and she provided her personal health insurance information and
paid $55.00 at the time of the service. [MD.NOW.DOS.011519.Bates-1-19.]

Ds The billing invoice at issue in this action is the balance that was due for the
medical treatment that the Plaintiff requested and which she received and which was not related
to the workers compensation that she received earlier. [MD.NOW.DOS.011519.Bates-1-19.]

6. The documents attached hereto unequivocally support Defendant MD NOW’s
denial of the Plaintiff's Statement of Claim and the allegations set forth in the Complaint.

ds Accordingly, the Plaintiffs claim against Defendant MD NOW, under Fla. Stat

§559.72(9), et al., is meritless and should fail.

 
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WHEREFORE, MD NOW requests that this Honorable Court enter an order dismissing the
pending action against them; together with whatever further relief that this Court deems to be fit and

proper.

CERTIFICATION BY ATTORNEY
I hereby certify that a copy of this pleading which was filed with the Clerk of the Court

was provided to the Plaintiff's attorneys: Jibrael 8. Hindi, Esquire, jit

 

 

Thomas J. Patti, Esquire, tom

33301; Paul A. Herman, Esquire, p:

 

560, Delray Beach, FL 33445; Joel A. Brown, Esquire, Joel.brown@friedmanandbrown.com

3323 NW 55" Street, Ft. Lauderdale, FL 33309; and Co-Defendant I.C. Systems, Inc., Joseph C.
Proulx, Esquire, Dale T. Golden, Esquire, Golden Scaz Gagain, PLLC, 201 North Armenia

Avenue, Tampa, FL 33609-2303, jproulx@gsgfirm.com, dgolden@gsgfirm.com; via the Court’s

ECM/ECF Portal on July 28, 2020.

/s/ RANDY M. GOLDBERG, ESQUIRE
Florida Healthcare Law Firm

151 NW 1* Avenue

Delray Beach, FL 33444

754-224-0867

FBN: 045187

   
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MD.NOW.DOS.011319.Bates-1-34

 
 

 

 

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a4 MD NOW RAYO, MARVEL!

URGENT CARE 11/06/1977
BRK MD NOW MEDICAL CENTERS INC 2019-01-13
Visit Summary Tests
_ Diagnosis Additional Notes Test Results
Encounter for preprocedural -
cardiovascular examination Pre- Urinalysis, Office No Result
© ep examination Injury of left Yet
knee, initial encounter . .
| ‘Comprehensive Metabolic Panel No Result
Referral Information Next Appointment {CMP)* Yet
- | Follow up with your Surgeon sci "
within 2-3 days for further Prothrombin Time wi INR {PT} enn
svaluation,Retum here or ER
IMMEDIATELY if woresn oro = CRC w/ diff/plt* No Result
improvement Yet
Partial Thromboplastin Time (PTT}, No Result
Activated’ Yet
EKG 12-LEAD, ATRIAMORTARA No Result
Yet

| \BOUT YOUR RESPONSIBILITIES

\FTER YOU LEAVE, YOU MUST PROPERLY CARE FOR YOUR PROBLEM AND OBSERVE IT'S PROGRESS. IF YOU DO NOT.
MPROVE AS EXPECTED, OR ARE WORSE, DO ONE OF THE FOLLOWING, IMMEDIATELY: CONTACT YOUR DOCTOR, OR

© $PECIALIST, OR at MD NOW, OR RETURN HERE

THE DOCTOR THINKS YOUR SYMPTOMS MAY BE DUE TO DIAGNOSIS/ SYMPTOMS LISTED ABOVE

 (eep this in mind: DIAGNOSIS WITH 100% CERTAINTY IS NOT POSSIBLE in the Urgent Care Center. Therefore, if you find you are not

- jetting better, another diagnosis is possible, and you must see your doctor, or return here.

_ \bove Normal Body Mass index Today, your Body Masa Index (BMl} was measured above 30. The correlation between the BMI and

_ sody fatness is fairly strong’? , but even if 2 people have the same BMI, their level of body fatness may diffef. in general, At the same
_ = 3M, women tend to have more body fat than men. At the same BMI, Blacks have less body fat than do Whites'*-4 | and Asians have

"nore body fat than do Whites'5 At the same BMI, older people, on average, tend to have more body fat than younger adults. At the same

; 3Mi, athletes have less body fat than do non-athletes. The accuracy of BMI as an indicator of body fatness also appears to be higher in

; 1ersons with higher levels of BMI and body fatness. '® While, a person with a very high BMI (a... 35 kg/nf) is very likely to have high body

' at, a relatively high BMI can be the results of either high body fat or high lean body mass (muscle and bone). A trained healthcare provider

7 ihould perform appropriate health assessments In order to evaluate an individual's health status and risks.

_ .aboratory Testing
q TY SP TES:
antion if you are experiencing a life-threatening

5 ‘mproeney caloth ont. . 77 you think or +r foo! that there is an ‘emergency, but are not sure, assume it ls an emergency and DIAL 917.

 

\FTER YOU LEAVE, YOU MUST PROPERLY CARE FOR YOUR CONDITION AND OBSERVE ITS PROGRESS.
_ F YOUDO NOTIMPROVE AS EXPECTED, ORARE WORSE, IMMEDIATELY: CONTACT YOUR DOCTOR, OR SPECIALIST, OR CALL

~ AD NOW, OR RETURN HERE.

MD.NOW.DOS.011319-000001

 

 
 

 

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E 5. if you have not been called or your labs arenot posted in the patient por

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1. Send out Labs: Lab tests taken today will bs send to an outside laboratory. Most lab tests will take approximately 3 to § days to
process the results. e fest fie. Cultures ‘ake Sus to be completeToday we are able to schedule a
follow up visit if requested. At your follow up visit you will have the chance to discuss the results of those test we performed jf lab tests
have fetymad and you will also have the chances to discuss the status of your Medical condition with the providerDepending on your

insurance coverage, you may be subject to additional fees billed by an outside laboratory. & is your responsibility to
understand your Laboratory benefits undar your insurance cou 7” — =

          

Results: When the results have retumed, you will receive and automated phone call f your labs areWithin Normal Range”. If your
results are “Out of tha Normal Range” a Medical Assistant (MA) will call you and advise that your results are available and we stil!
recommend a follow up visit at any of our clinics to digeuss with the provider the status of your medical condition, as well as the
significance of the results that have been received. The Medical Assistant will NOT be able to discuss specific results over the phone in
order to protect your privacy. *Any HIV (Human immunodeficiency Virus) results MUST be picked up by the patient in person and
esa available to retrieve from the patient portal. if the HIV results are out of the normal renge they must be discussed

with a vider at afi times.

. Patient Portal: if you provided us with your e-mail address you will receive a user name and temporary password that will aflow you to
log in t your Patient Portal where you will be able to retrieve your lab results after they have been reviewed by the provider. You will
aiso be able to view your visit summary. You will receive an email with this information. If you did not provide us with an e-mail address
during registration, please inform Check Cut before the end of your visit and request a Patient Portal Brochure.

. Follow up Appointments: ff you choose to request afoliow up appointment te be seen by the MD Now providerand review your
results, you will be asked to sign in for an office visit You will be charged another office visit per your insurance payment responsibility.

 
  

2 ps al within 4 ds tial visitplease contact us to get an
update on the time frame for your results: just remember some results might take up to 15 days to return from the laboratoryYou must

follow up OR retum to MD NOW Urgent Care Center OR your Physician/Specialist as directed.

Fe)

    

& 5. If you choose i follow up with a different Provider outside of MD NOW you will need to sign amedical recoms releaseor have your

doctor send us one.

2 7. You may receive a call back tomorrow or the next day to check on your condition and to verify if there is any improvement. if you are

not called back by our staff, please call us and let us know how you ate feeling.

*atient Portal: If you provided us with your e-mail address you will receive a user name and temporary password that will allow you to log
a to your Patient Portal where you will be able to view your Visit Summary of your visit with the provider. You will receive an email with
his information. If you did not provide us with an 6-mall address during registration, please inform Check Out before the end of your visit
ind request a Patient Portal Brochure. .

fo access your Medical Discharge Instructions for today’s visit: Log into Patient Portal. MDNOW.COM/PATIENTPORTAL. Once on
he Dashboard, click on Medical Records, then click on Visit Summary. To Access Lab Results, Click on Lab/ Diagnostic Resutts.
Please note you will not have access to any reports from Diagnostic imaging facilities you may have been referredto. —

*eport any changes in your condition or concams you may have immediately to MD Now Urgent Care Center, your Family Physician, or go

o the nearest Hospital Emergency Room.

Fthere is NO improvement, or your condition WORSENS, call your Primary Care Physician, RETURN toMD NOW Urgent Care
zenter, or go to the nearest Emergency Room. If you are experiencing a life-threatening emergency call 911! Federal law defines
im emergency medical condition as fofows: ; ss weed « ; ;

in “amergency medical condition" means a medica! condition manifesting itself by acute symptoms of sufficient severity (including severe
vain, psychiatric distrubances, end/or symptoms of substance abuse) such that tie absence of immediate medical attention could

_ easonably be expected to result in: Placing the health of the individual (or, with respect fo a pregnant woman, the health of a woman of her

unborn child) in serious jeopardy; Serious impairment to any bodiy functions; Serious dysfunction of any bodily organ or part.
af you think or feel that there is an emergency, but are not sure, assume i is an emergency and DIAL 911.

MD.NOW.DOS.011319-000002

 

 
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HOMER SUR

Sit

:

understand the physical examination, medical care or any vaccinations which | may have received are not intended to be complete and
lefinitive care and treatmen t | acknowledge | have been instructed to contact my Primary Care Physician, or a Specialist, enmadisesly for
continued and complete medical care and treatment. EKG's, X-Rays, and lab studies (If any} will be reviewed by our Physicians (not a
ipecialist). The patient may be notified of significant discrepancies. F requested, a Specialist referral will ba given.

understand, and agree, that all of my questions concerning my oxemination, medical treatment or vaccines have been
inswered. | agree | have read and reviewed this document and received Patient Education regarding my Visit.

8
4
i

Next Appointment: Follow up with your Surgeon within 2-3 days for further evaluation, Retum here or ER IMMEDIATELY if worsen or no
improvement

¥ Received discharge instructions ¥ Verbalizes understanding Prescription Given

 

| MARVELI RAYO 2019-01-13
Print Patiant Name Patient Signature/Guarantor Date

 

MD.NOW.DOS.011319-000003

 

 
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Patient: RAYO, MARVELI

Account Number: 1557333 Provider: George Tabi, MD
DOB: 11/06/1977 Age: 41Y Sex: Female - petidiaico
Phone: 789-548-6787 /13/2019

Address: 3223 NW 11TH CT, MIAMI, FL-33127-3219

 

 

; Subjective:
‘2 Chief Complaints:

1. **PRE OP// ORDERS IN CHART ** ,
HPI:

 

ot:
| Urgent Care Visit
_ Description of symptoms Pt here for pre-op clearance
Associated body part/system Other (describe) .
Duration of symptoms Other (describe)
a _ What was going on when the symptoms occurred? W/A
a Is the patient uncomfortable or in pain? No
= ’ Describes pain or symptoms as: Other (describe)
Timing/Course of Symptoms (How often/when do symptoms occur?) Other (describe)
' Does anything Improve or worsen symptoms? Afo
Are there any associated symptoms? No
Are symptoms related to a prior illness or injury? Ao
Has the patient tried OTC intervention or received treatment elsewhere? Wo
Pre-Operative Screening
Procedure? meniscectomy repair, meniscus root repair or arthrotomy with any necessary
bony or soft tissue repair
Surgeon Name? (unknown name listed), only Surgical Assistant, Physician assistant
unknown also
Body Part knee
Allergy to Latex? none .
Anesthesia Complications Previously? none
Dentures fone
Date of Surgery? 1/25/2019
History of MRSA Infection? none
ROS:
Carstitutional:
mo Fever/Pyrexia. no Muscle Cramps/Spasm. no Headaches. no Bleeding. no Loss of
appetite/Anorexia.
Alleray:
mo Runny nose. no Sinus congestion. no Post-nasal drip.
Cardiology: ,
mo Chest pain. no Palpitations. no Shortness of breath. no Irregular Beats. no Murmurs.
Dermatology:
no Redness. no swelling. no Wound.
Endecrinoloay:
mo Fatigue. no Excessive sweating. no Excessive thirst. no Excessive urination. no Weight
loss. NO Sleep disturbance. no Cold intolerance. no Heat intolerence. no Weight gain.
ENT:
mo Cough. no Sore throat. no Nasal congestion.
Gastroenterology:

no Nausea. no Vomiting. no Abdominal pain. no Diarrhea. no Constipation.
Hematology/Lymph:
Patients: RAYO, MARVELI

DOB: 11/06/1977

MD.NOW.DOS.011319-000004

 

 
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: NO Swollen Lymph Nodes. no Easy bruising.

 

no Joint swelling. no Joint stiffness. no Back pain. no Neck pain. no Pain in

“Suceae

no Gait abnormality. no neck stiffness.

No Diminished vision. no Loss of vision. no Pain In eye/periorbital pain.
Respiratory:
fo Shortness of breath. no Chest wall-rib pain. no Cough. no Wheezing.

Medical History: HIGH BLOOD PRESSURE, Diabetes mellitus.
Surgical History: CHILD BIRTH .
Hospitalization / Major Diagnostic Procedure: Denies Past Hospitalization.
Family History: Father: deceased. Mother: allve.
Social Histo
Smoking/ Tobacco Use Assessment
Smoking history Fatient is a Non-smoker
Interest in quitting Patient is a Non-smoker
Alcohol Screening
Did you have a drink containing alcohol in the past year? No
If "Yes": How Often? Monthly or Less
If "Yes": How many drinks did you have day? 0
If "Yes": How often did you have 6 or more drinks on one ocassion? Never
Medications: Taking metformin , Medication List reviewed and reconciled with the patient

Allergies: N.K.D.A.

Objective:
Vitals: Initials kb, BP 127/79, HR 68, RR 18, 02 Sat 100, Temp 98.8, Ht 60, Wt 160 ibs, BMI
31.24 Index, Pain 0 to 10 {10 warse) 0, Last Tetanus unk, Preg? denies, LMP denies .
Examination:

nm
General NAD, Normat and Heaithy Appearing, Alert & Oriented x 3, Active &

Ambulatory.

‘HEENT PERLA, EOMI, pharynx and tonsils normal, TM's clear, Ear canals normal, nose
clear.

Oral cavity Normal-no lesions, airway patent.

Neck supple, no lymphadenopathy, normal ROM of C-Spine.

Heart Normal, RSR, normal $1/S2, No Murmurs.

Lungs CTA/Normal, No Crackles, Rhonchi or Wheezes, good air exchange.

Abdomen soft, NT/ND, BS present, no rebound, guarding or rigidity, no masses felt,
no hepatosplenomegaly,

Neurologic exam No focal deficits/Grossly Intact/Unremarkable, no meningeal signs,
gait normal, normal strength, tone and reflexes, neuromuscular intact.

Skin normal, no rash .

Peripheral pulses normal (2+) bilaterally,

‘Back no CVA tenderness, normal ROM of spines.

Extremities normal ROM, no clubbing, cyanosis or edema, Muscle tone and Sensations
normal, NO Homans Sign, all other joints & extremities normal, no obvious

Piatient: RAYO, MARVELI
DOB: 11/06/1977

MD.NOW.DOS.011319-000005

 

 
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Fo

abnormality/injury noted.

nt:
Risk Factor INTERMEDIATE RISK,

Assessment:

Assessment:

i. Encounter for preprocedural cardiovascular examination - Z01.810 (Primary)
2. Pre-op examination - Z01.818

3. Injury of left knee, initial encounter - SB9.92XA

see rab RTs: Wir ra pathic Ag OA eae ae ray en Oe Maa EE

 

Plan:
Uri

Color yellow

Clarity clear

$G 1.020

pH 7.0
trace-

BILO intact

LEU neg

NIT neg

BIL neg

KET neg

PRO neg

GLU neg

URO 0.2eu/dl

Wooten,Kanitha 01/13/2019 08:50:11 AM EST > kb
In MORTARA

Wooten, Kanitha 01/13/2019 08:46:41 AM EST > kb BARION,KATIANA 01/13/2019
09:02:14 AM EST > KB

Notes: Pt states she is having a ieft knee arthroscopy
Follow surgeons recommendations

EKG showed no acute pathology.
Others

foot on our medical consultation and evaluation today, we consider this patient to be at
INTEIRMEDIATE RISK for a peri-Cperative cardiac event.

PLEASE NOTE: This preoperative risk stratification, along with any testing, labs, referrals and
recommendations were based on today s current history and physical exam, along with the
patient s self-reported past medical, surgical, and family history, and their self-reported
allergies and current medications. We have evaluated the patient based on our examination
today and may have obtained additional testing and labs requested by the patient s surgeon.
We aire not the patient s surgeon nor primary care provider and limited or no medical records

Patienit: RAYO, MARVELI

DOB: 11/06/1977

MD.NOW.DOS.011319-000006

 

 
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were available for review during the visit. The final decision to proceed with the surgical
procedure is ultimately up to the patient s surgeon to decide after weighing the overall risk
and benefits to the patient of the proposed surgical procedure.

Provider: George Tabi, MD
Patient: RAYO, MARVELI DOB: 11/06/1977 Date: 01/13/2019

Electronically signed by GEORGE TABI , MD on 01/53/2019 at 08:07 PM EST
Sign off status: Completed

Patient: RAYO, MARVELI
DO: 11/06/1977

| MD.NOW.DOS.011319-000007

 

 

 

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O05 WHYON da 2 aes PUBA LL6\-48g-90 ‘B00
WHLARY SNES EEELES) “Ol

 

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Orthopaedic Associates, USA (Miami Lakes)

15600 A.W. 67th Ave Suite 306
FL 33016

bifaenl
oe 476-1362

  

 

 

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Page 1/7

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IAN-41-2819 16:24 From: . i
2 rom: 0AUSA PCC. , 9543432839 Toi 13859498890 Pase:i/7

Orthopaedic Associates, USA (Miami Lakes)

 

 

 

 

 

SN es ats

: : (54) 476-4800

‘ es Fans 476-1362.

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Orders
Ordering site me! | 0 Ge g
IOUUNM. Ghee Me Ly S
Miami Lakes, Fl 23054 ;
Date: sti ; Centan
Patient Information : __

 

 
 

Dist sr
cause Date of it: 11/0687 278,049.41 4 |

Patient Insurance Information _

  

    

 
 

MEDICAL ATT: MEDICAL‘ (454) 560-4498
Plan #1BFLODOSE47 3

Left Arthroscop wilh Medial Mesiscetom LaEE ARTHROSCOPY MEDIAL MENISECTOM Ls
” DX: Left knee medal meniscus tear (S89 a —_
Consent: Left ks arphroscony. My pctel meniscectomy or repalr, fe PomeaS Ineci menincus toot reper,
possible arthrotc ig necssary bony or soft tissue repair or
Feeeta Ses es! c 9881, 29882
Duration of Procedure: 90 minutes

. Surgical Assistant: Physician Assistant
Sratroment Compaty Syke Ar Meniscus repair, Stryker Meniscal Root Repair (Ceterix, ACL drill guide,
i,
endobutton drill, endobutton) , =
Provo Anisute: Anal | GM Vij Prep area ro PCM ally Otherwise, Cindamycin 600mg IV in Pre-
Pre-Op Clearance: Needed
pre psa: Coe, SU 7, , EKG, fo Pamate pat
Passive M +: None needed

OME Needed: Crutches ‘

PNEUMATIC COMPRESSION DEVICE (B0675).1 Ondered

Allergies 7
No Known Drug Allergies 05/07/2018

End of Orders

i Meoiquua@éia1tshl.000012

 

 
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. Page 1 of 1

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Patient Name: RAYO,MARVELI DOB: 11/06/ 1977 Account No: 1557333 MRN:
Intake Form: Sign In -Questions Upload Date: Jan 15 2019 , 06:02 PM

Patient preference regarding communication of medical information

I hereby give permission to disclose and discuss any information related to my medical condition(s)
with the following family member, relative, or other person:

 

' Additional Demographic Questions
5 Social Security Number

Lr

| Employer Name

et

**NOTE: This individual will be listed as your emergency contact.

Contact Name: I hereby give permission to disclose and discuss any information related to my medical condition(s)
with the following family member, relative, or other person:

 

 

 

 

 

 

Emergency Contact Number
Contact Number

 

Emergency Contact Relationship
Contact Relationship

 

Voicemail
Allowed to leave a Voicemail?

Ores Ono
Would you like your flu shot today?

: z 3 :8080/mobiledoc/jsp/catalog/xml/questionnaire/questionnaireDis I... 5/26/2020 |
SE ANS moon a= ef 4 MD.NOW DOS 011 19-000013

 

 
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s

Corporate Office: MD Now Medical Centers, Inc.

* MD NOW Wiest Pam Beach, F309

= West Palm Beach, FL 33409

Phone 561-420-8555

: URGENT CARE ae Sl -an ee

Email: info@mdnow.com

 

January 18,2019
Dear Dr. Orthopedic Associates:

As per your request for medical consultation we performed a Pre-Operative Medical Consultation on your patient
MARVEL! RAYO at MD Now Medical Centers, on 01/13/2019 regarding their surgery for left knee scheduled
owor about 01/25/2019. This evaluation included a medical history and physical examination including specific
laboratory and/or diagnostic tests to evaluate this patient's current medical conditions and health Status, in order to
ee 2 ay perioperative surgical risk profile. The detailed history and physica] examination/s and testing results
are attached.

 

As always the potential risk of the surgery has to be weighed against the benefits to the patient, and of course there
is no Surgical procedure that is completely without any risk. But based on a detailed patient assessment, relative
levels of risk for a peri-operative cardiac event can be estimated and categorized taking into account multiple
factors, including well established risk stratification guidelines developed by the American College of Cardiology,
the American Heart Association and the American College of Physicians. This is noted for your patient below.
Additionally, we may also provide additional recommendations and advice on a course of action to reduce risk
and/or contro] any potential medical concerns or issues which may arise.

Based on our medical consultation and evaluation, we consider this patient to he at a INTERMEDIATE

RISK for a Peri-Operative cardiac event and it is recommended that tl : 2 io surgery. howeve
caution should be advised to c onitor t tient’s nm. A little closer peri-operative and pos
operative management should be considered.

      

  

    

 

 

PLEASE NOTE: This “preoperative risk stratification,” slong with any testing, labs, referrals and recommendations
were based on today’s current history and physical exam, along with the patient’s self-reported past medical,
surgical, and family history, and their self-reported allergies and current medications. We have evaluated the paticnt
based on our examination today and may have obtained additional testing and labs requested by the patient’s
surgeon. We are not the patient's surgeon nor primary care provider and limited or no medical records were
available for review during the visit. The final decision to proceed with the surgical procedure is ultimately up to the
patient's surgeon to decide after weighing the overall risk and benefits to the patient of the proposed surgical
procedure.

Should you have any questions, please contact Priscillia Mejia, MD Now’s Pre-Op Consultation Coordinator at 954-
958-5858, or contact Dee Edmondson at 561-967-8771 and/or Lori Shumaker at §61-420-8541.

Thank you very much for the opportunity to consult on your patient.

     

Consulting Physician
MD

Now Medical Centers, Inc.
MD Now Urgent Care Centers
5216 N Federal Highway
Fart Lauderdale, FL $3308 Visit Us Online! « www.MyMDNow.com

Phone 054-068-8858 Fox 064.060
MD.NOW.DOS.011319-000014

 

 
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Page 1 of 1

 

 

BRK MD NOW MEDICAL CENTERS INC

George Tabi, MD

 

 

 

 

1250 SOUTH MIAMI AVE MIAMI , FL 33130-4100 Family Practice
Tel: 305-571-6250 Fax: 305-571-6251

Patient: RAYO, MARVELI 05/26/2020
DOB: 11/06/1977, Sex: Female

Address: 3223 NW 11TH CT, MIAMI, FL, US-33127-3219

Phone: 789-548-6787

Ordered Date: 01/13/2019

Assessments: Encounter for Preprocedural cardiovascular examination - Z01.810

Lab: EKG 12-LEAD, ATRIA/MORTARA

Fasting: No

Specimen:

Clinical Info:

Name Value Reference Range

Result:

Received Date:

Notes:

Wooten, Kanitha 01/13/2019 08:46:41 AM EST > kb
BARJON,KATIANA 01/13/2019 09:02:14 AM EST > KB

 

 

Patient Name: RAYO, MARVELI , DOB: 11/06/1977

http://ecwapp.mdn.local:8080/mobiledoc/jsp/catalog/xml/labs/printLabReport,jsp?reportid... 5/26/2020

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Case 1:20-cv-21993-MGC Document 24 Entered on FLSD Docket 07/28/2020 Page 18 of 56

Aaa

| 11-2019 16:04 From:OAUsA Poe
‘ 9543432039 To: 1305949999 Page:1/7

 

Orthopaedic Associates, USA (Miami Lakes)

 

ome baa 1G

Ordering Site ‘

USA (Mami! Lakes
Soeub 67th Ave Sle S06 :
Phone: 476-8800 :

 

 

 

 

   
  

  
   

 

: Fax: Pie :
| Date: 01/11/2019 k
3 Patient Information :
Marvell Ra *
font eS” 3
(786) 548-6787 :
Eoin Female Date of Birth: 11/06/1977
Patient Insurance Information __:
ne dt MEDICAL ATT: MEDICAL BIL (484) 880-4438
Plan #ISPLOGOS647 :
3
Ali ‘2
es with Medial VAAL MeNISeC TOM,

  
 
 

ee arthroscor medial meniscectomy or repair, possible medial meniscus root repair,

Spr hSa6t, 25082" repair or excision

a

utes
Surgical Assista
Anesthesia: General :
instrument Campatry: Styker Al Meni
dri ay: er Men sous repair, Stryker Meniscai Root Repair (Ceterix, ACL drill guide,

Pre-op Antibiotic; Ancef 1 GM IV in Preop area if no PCN allergy. Otherwise,Clindamycin 600mg IV in Pre-

Fem
Wraatve Motion Norcaaaa at

op aréa

D Labs: cic SMA 7 EXG fot le patients

: s ie a : Bheg
Post-Or "apy: Pricutuatie (NIC
Continuous

OME Needed: Crutches

PNEUMATIC COMPRESSION DEVICE (E0675) 1 Ordered

Allergies ‘
No Known Drug Allergies 05/07/2018

MO.NOW.ROS 01/949-000016

RD

 

 
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I-11-2819 16:85 From:OAUSA PCC 9543432039 To? 13059498999 Paseie’?

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A _dyis/2019

Mare lafent) Date

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Re

| (Mii-2019 16:85 FromanusA PCC 9543432039 To: 13059498098 Paset3?

 

Orthopaedic Associates, USA (Miami Lakes)

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

: 15600 N.W. 67th Ave Suite 306
Miami FL 33014
Phone: (954) 476-8800
Pax? 476-1362
| Patient Demographics —
4 Marveli Rayo | 1420 —_
et pape 11/06/1977 Langiinpe: Undefined metered: Mare Iolenti
a Home Address: pgm 21ST ST cna Employer: = ______/Uly Careaiver__
a available not avaliable
a Miami, FL 33142 = ) ee not avalible}
; Phone: (786) 548- Undefined
q Cell: 549-
ey) :
Preferred Notificatios Undefined Hised type: Undefined
Relation to Guarantor Emergency
— er Rayo Guergntor 1250 NW 21ST ST Motes: ATHENA ACCOUNT
inderrantion: Miami, FL 33142 # 196547
- phone: (786) 548-
Call: (786) 548-
site OT he ee ee es
Insurance f
Normandy lIns/Si Group number: NONE DOB: Yes
MEDICAL ATT: MEDICAL Plan number: 48FL0005647 er (
Tyo ple: Worker's " SO: TRE) EG
1250 NW 24ST ST
(484) 930-4438 ; : Miami, FL 33142
Primary C-are Physician

wh cae ee

MD.NOW.DOS.011319-000018

 

 
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/ -11-2819 16:85 From:0ALISA PCC 9543432839 To? 1385949R8R99 Pase:4/7
ia

Orthopaedic Associates, USA (Miami Lakes)

10 Ww. ¥. Evin Ave Sue 206

 

7 Fi. 33014
1 Proc: 476-8800
Fan: 476-1362
Patient #: 201420 DOB: 11/06/1977 (41 years)
Date of Encounter: 12/10/2018 03:00 PM
See = rn a nd

 

History of Present Iiness t

well as Se ee Bre ae en a of tne knee be in and back of the knee pain. This is worst with
renee up and down the stairs She has had some ip as wel She has not Rad any therapy He nur
as

was about two ma Her pain has i has ‘work.
some miid catching, but Pao wie” Saris se, we ee geo

Ee ery
hats tos for re-evaluation continues to have in the inside and back of her knee. She was injured at
wor ne months agp. She was ijured whan fo byperantesiad fier thee nine eae gee ects

tive soe swan had sthempted phiycteatt over
fas se mld ating on the iar ct of her Imes as well. She does not have a new new iuury. She has had

7

eee She are not her restrictions at work, She has severe pain by the end of the day.
isa B out of {0 wah ape Lg the middle of the day as well. She does not have
neaebiey he her knee. She fects that her therapy may be wake tee a =

12/10/18; She states that not much has changed since her last visit. She continues to have 8 out of 10 pain. She has had her
housing situation secured .

Allergies:
No Known Drug Allergies 05/07/2018

Past Medical History
MEDIAL MENISCUS TEAR, LEFT, INITIAL ENCOUNTER ($83.242A)
CHONDROMALACIA, KNEE, LEFT (M94,262)

MEDIAL MENISCUS TEAR, LEFT, SUBSEQUENT ENCOUNTER (S83.242D)

Family Histery ;
Arthritis i
Asthma v

Social Histery
Dominant Hand
Current work status; House-keeper for South beach group hotels
Non smoker / no tobacco use

Non drinker / no alcohol Use ,

No drug use i

Marital status :

Medication History ,
Crutches-Aluminum (4 (one), Taken Starting 08/13/2018) Active - Hx Entry.
Naproxen (SOOMG Tablet 1 Tablet Oral twice a day with food, Taken starting 06/13/2018) Active - Hx Entry.

Advil (100MG Tablet Chewable, Oral) Active.
i

Past Surgical

Cesarean Delivery

wenete |

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/ 11-2919 16:96 From:Q8USA PCC
; " 9543432039 To: 13859498299 _ Pase:S+7
4
Bee ese Boe Tetng an Rah
HeENT Present- Blurred Double Vision, Ear Infection, Eye Pain, Headache, Seasonal Allergies, Sinusitis and Sore
Shortness of Breath and Wh
Gargiovascalar Na rt: rat Pan essay ener eee Vang
Gastrointestinal Not — on Heartbum, Indigestion, Nausea and Vomiting
Musculoskeletal Not > Back Pain and Sent Pain, anne aa
Psyche eis Neat Dizzines SPY it nog ane Tema
rh aa 0 you Sere Depressed and Have you considered suicide.
All other ence Present Blood Clots and Glahd prablems.
Vitis '
| Weight: 163 Ib Heights 62 in .
a Body Surface Area: 1.75m2 Body Mass Index: 29.8
Physical cam *
The @xam final 4 :
Polat oa soyemree nls

General: No acute distress, appropriate responses
KNEE EXAM — Affected Side
Side: Left «

Quadriceps atrophy: Mild ‘ ;
pit legs Posterior knee, medial joint line, posterior medial joint line, slight medial collateral ligament, medial
Non-Tender: LCL, lateral joint line, medial femoral condyle, lateral femoral condyle, patella tendon, quadriceps
tendon, pss enserine, 9 tubercle i
ROM: 0-125 (0-135) :
Effusion:
Medel Meo: enderress to palpation stv manures, poste tesa, pos

eniscus: n, mem * itive duck walk
Lateral Menisicus: Slight tendemess to palpation, negative mcmurrays, negative thessaly, negative duck walk
Ligament Exam :

Pivot Shift Test: negative

peteiotemcnal exam
Patella Instatilicy: rene ‘
Passive lateral patellar tilt: neutral
Distally the patient’sneurovascular status is intact throughout with 2+DP/PT pulses and sensation intact to light
touch rountneut Induding Sural/sephenous/superficial peroneal/deep peraneal/tibial
Unaffected side — i
i France of motion, ligamentous stability, and no tenderness to palpation, Th patient stands in
neutral alent There are ee Skin lesions cr Taches Distal pulses are z+ and there ts brisk cpllary refill in i
toes. ne lynnp ppathy, effusi , erythema tissue *
lower extremity and sensation Is Intact to light touch throughout. M DO NOW. DOS.01131 6.000030
Case 1:20-cv-21993-MGC Document 24 Entered on FLSD Docket 07/28/2020 Page 23 of 56

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e

_ 11-2019 16:06 From:cAusa PoC 9543432039 Ta? 13259498999
) : Pase:6/7

=

ht hip: Ni
Rig i intact as. no edema, full range of motion, 5/5 strength throughout, skin warm and well-perfused,

Left hip: No skin lesions, i
in od ensatn Intact te orgs Of mation, na gross instability, 5/5 strength throughout, skin warm

ankle: No ski )
Right 3 ie in lesions, no edema, no gross Instability, full range of motion, 5/5 strength throughout, skin

Left ankle: No skin |
aa In lesions, F intact te ee ress, nstablity, full range of mation, 5/5 strength throughout, skin warm

aoe ‘
NDROMALA
CIA, KNEE, LEFT (M 2)

*
.

&

MEDIAL MENISCUS TEAR, LEFT, SU
EN BSEQUENT ENCOUNTER (S83.242D)

a
MEDIAL MENISCUS TEAR, LEFT, INITIAL ENCOUNTER (S83.242A)

; meer COMPRESSION DEVICE (£0675) ; Routine ()

© pasate Aspirin 325MG, 1 (one) Tablet once dally with food, #14, 14 days starting 12/10/2018, No Refi,
* ef “2720 4G, 1 (one) Tablet three times dally, as needed, #10, 5 days starting 12/10/2018, we

* Reffh =? Colace 100MG, 1 (one) Capsule 2 umes a day with food, #40, 20 days starting 12/10/2018, No
e Resterted Norco 5-325MG, 1 (one) Tablet four times daily, as needed, #20, 3 days starting 12/10/2018, No

© Continued Naproxen SODMG, 1 Tablét twice a day with food, #60, 12/10/2018, No Refill.
© Continued Crutches-Aluminum, 1 (one).

Consent: ef scectomy or repair, possible medial meniscus root repair,
posable rity wth any nec or soft tissue repair or excision ,
CD-10: $83.2 M65.862 ' : 1,
2A, ‘ 29882

: Physi
Ane ane: Phy near eer
Patient Position: Supine ‘
Instrument Company: er Meniscus repair, Stryker Meniscal Root Repair (Ceterix, ACL drill guide,
Pre-op Antibiotic: Ancef1 GM IV fn Preop area ff no PCN allergy. Otherwise,Cindemycin 6000 IV in re

‘Op Clearance: Needed
Labs: CBC, SMA 7, EKG, (fi Female patients: UA, Bh
posh One ot : Prheumstiescomprassi Device (MC
DME Needed: Crutches

       

We had a le: discussio rding her left knee today. She hes a medial meniscus tear. Her tear is
posarior Hotel eae them root. gppe2rs to be Involvement of the posterior menista
root, There is some mild mensical extrusion as wall. She also aS grede ] chondromailacia within the medial
as well as some ble areds of grade IIT chondromatacia She also has chondromalacia of her
oral compartment, had a len ity discussion regarding het dismace se prognosis and treatment
options, i
Case 1:20-cv-21993-MGC Document 24 Entered on FLSD Docket 07/28/2020 Page 24 of 56
: Page 1 of 1

Patient Name : RAYO, MARVEL!

Payment Policy

For commercial insurance, MD Now Medical Centers, Inc. (hereinafter referred to as 27MD Now?) collects from you the
estimated amount of patient responsibility based on our insurance contracts and the eligibility information Provided by
your insurance company at the time of service, If nothing is owed at the time of service, then MD Now will not collect
any money. Following your visit, you May receive an explanation of benefits ({EQB) from your insurance company
Stating the amount paid by your insurer and the remaining balance owed by you, if any.

MD Now accepts credit / debit cards, checks, and cash as valid forms of Payment.

As a Courtesy to our patients, MD Now keeps a credit / debit card authorization on file for each Patient visit and will
charge the card for any balance not paid by your insurance for that visit only. MD Now will also automatically refund
your Card if there are any amounts owed to you, if you have provided us your email address, you will receive an emait
with the receipt for any charge or refund. if your visit has a $0 balance, then there will be no further charge or
refund.

 

The security of your personal information is very important to us, which is why your credit / debit card data is stored
securely by First Data in a PCI DSS compliant credit card system, as required by VISA, MasterCard, American Express,
and Discover. MD Now?s clinic staff do not have access to your credit card information, and the data is not stored on
any MD Now computer system.

Payment Authorization

| authorize MD Now to charge my credit / debit card for any outstanding patient responsibility balances that remain
after insurance reimbursements have been applied for authorized medical services received at MD Now. | also
authorize MD Now to issue a refund to the same credit / debit card if there is a balance due to me. | understand that |
will be billed directly by, and agree to pay, MD Now for any outstanding balances should my credit / debit card be

: declined or cancelled. | also agree to reimburse MD Now the fees of any collection agency, which may be up to 40% of

4 the balance owed, along with all costs and expenses, including reasonable attorneys? fees, if incurred in such

: collection efforts. If my account is sent to collections, such fees will be assessed by the collection agency on behalf of
MD Now. Similarly, | understand that | may be responsible for my balance due to any chargeback, reversal, or dispute
as a result of my credit card company?s or bank?s refusal to remit Payment to MD Now.

Cardholder / Representative Authorizing Signature

Date

Cardholder / Representative Printed Name

Signed On:2019-01-13
08:01:014 ( Re QUVO

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, MD.NOW.DOS.011319-000022

 
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Patient Name : RAYO, MARVEL!

 

@ _ PATIENT CONSENTS, RESPONSIBILITIES, AND DISCLOSURES

2 For purposes of these consents, responsibilities, and disclosures, the company names of 7MD NOW Medical
Centers, Inc.?; ?Primary Care MD, Inc.?; and 74D NOW Urgent Care, inc.?; hereon will be referred te as 7MD NOW.?
Section |:

Registration Consent and Disclosure

ge Insurance verification and/or payment is required for every office visit, all medical services, and/or any time spent

s with one of our doctors or medical providers at the time of services. There is always a Doctor working in the facility at
all times; however, you may see a Certified Nurse Practitioner or Certified Physician?s Assistant {working alongside our
board certified physician) after you check in to be seen. You may specifically request to be seen by a physician:
however, you may have to wait a little longer te do so.

There are no guarantees that any patient wilt improve, get better, or be cured. Patients may need to return for
continued medical care, advice, or further treatment and will be required to pay at the beginning of each visit for any
follow up care visits, return visits, and/or any time spent with a medical provider, to include additional medical
services at the time of that visit. Medical advice may only be given after a patient is checked in and evaluated by one

a _ of the medical providers, and not by the front desk staff. The front desk staff does net have the authority to give any
a verbal guarantee of specific treatment or medications.

Patients may be referred to another doctor, a Specialist, a hospital, or the ER for continued care, additional medical
advice, or more definitive medical care. There are no guarantees given, and a patient?s final diagnosis or continued
treatment may differ from their initial evaluation, diagnosis, treatment, or plan of care. In medicine, there are no
100% guarantees of a cure or improvement, and payment is for the medical office visit, any services, and/or time with
our medical providers.
4D NOW is not a "pain clinic” and as such, MO NOW does not provide long term or chronic pain management
services. MD NOW does NOT administer, dispense, or prescribe Oxycontin, Methadone, MS Contin, or similar
class II narcotic pain medication or Suboxone (Subutex} treatments. All prescriptions, therapies, medical analyses,.
and treatments are rendered under a provider's license, and there are no guarantees that MD NOW providers will
prescribe a specific medication that you may desire.
Only after a medical examination is performed, a licensed medical provider May prescribe, dispense, or administer a
medication if believed to be appropriate for your medical treatment. All medications are given under our medical
providers? licenses, and no refunds will be given because the treatment, prescription, or drug of your choice was
net given. Our front desk staff is not authorized to provide or suggest any medical advice, make any agreements
regarding the nature of the care you will receive, and/or guarantee that a specific treatment or medication will be
provided.

It is the policy of MD NOW that patients and visitors are responsible for all personal belongings and valuables brought
‘ within any of the facility premises, including patient rooms, MD NOW will not assume liability or legal responsibility for
4 . Feplacing or making reimbursements of lost, misplaced, stolen, or damaged belongings and valuables.
Ed If you have any questions, comments, advice, or complaints regarding your medical care, please feel free to contact
f 4 . the Medical Director and/or Office Administrator at info@mymdnow.com. If you have any billing questions, please
ig contact our billing department at billing@mymdnow.com. You may also contact MD NOW?s administration/ billing at
361-420-8555. The billing department is available for questions Monday through Friday 8am-8pm, and Saturday and
Sunday 8am-4pm.
a By signing on the signature page, | understand and agree to the contents of section |.

: Section if:
e { rance Portability and Accountability Act
Consent for Purposes of Treatment, Payment, and Healthcare Operations:
By signing this form, | consent to the use or disclosure of any protected health information for the purpose of
diagnosis, providing treatment, continuation of care, ebtaining payment for rendered health care services and
precedures, and to conduct health care operations.
! understand that | have the right to request a restriction as to how my protected health information is used or
disclosed to carry out treatment, payment, or healthcare operations of the practice. MD NOW is not required to agree
to the restrictions that | may request. | have the right to revoke this consent in writing, at any time, except to the
extent that MD NOW has taken action in reliance on this account.
My ?protected health information? means heaith information, including my demographic information collected from
me, and collected or received by my physician, another health care provider, a health plan, my employer, or a health
care Clearinghouse. This protected heaith information can be related to my past, present, or future physical or mental
heaith or condition and identifies me, or there is a reasonable basis to believe this information may identify me.

| understand | have the right to review, MD NOW?s Notice of Privacy Practices prior to signing this document and that
MD NOW?s Notice of Privacy Practices has been made available to me. The Notice of Privacy Practices describes the
types of uses and disclosures of my protected health information that can occur in my treatment, payment of my bills,
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the Notice of Privacy Practices. | may obtain a revised notice of privacy practices by calling the office and requesting a
revised copy be sent by mail or by asking for one at the time of my next appointment. | understand that the notice is

posted on MD NOW?s web site at: http://www. MyMDNow, com/ HIPAA. html

8y signing on the signature Page, f understand and agree to the contents of section Il.

Section lil:

Insurances and Accepted Forms of Payment

Self-Pay: MD NOW has affordable self-pay fees for office visits, vaccinations, and other comprehensive medical
services. You can pay via debit, credit, cash, or check. Please inquire at the front desk for these prices, or ask the

' medical assistant at time of service.

& Private Health Insurance: MD NOW accepts most major Florida health insurances {e.g., Aetna, Cigna, BCBS, United,

: Humana, Avmed, etc.}, and sorne travel and other commercial insurances, including select PPOs and HMOs, However,
you are responsible for payment of your bill, regardless of any insurance company?s arbitrary determination of usual
and customary rates. MD NOW will attempt to verify your coverage; however, this is a contract between you and your
insurance company and not a substitute for payment. Deductibles, co-pays, and coinsurance are your financial
responsibility under your benefit plan. Some services may not be covered under aur contract with the insurance; MD
NOW will attempt to advise you in advance of the costs,

Workers? Compensation: According to Florida state law, all claims sent for Patients being treated due to a workers?
compensation injury will be sent through the workers? compensation insurance. Health insurance policies generally
exclude payment for any benefits for work-related injuries; therefore, we cannot file to your health insurance unless
| . the injury is dented by your employer because it is not work-related, or your employer elects to pay out of pocket for

4 your care. Billing and specific workers? compensation injury related information may be sent to your employer

| (Florida Statute Chapter 440}.

Motor Vehicle Accidents: According to Florida state laws, all claims sent for patients being treated due to a motor

vehicle accident will be sent through the individual patient?s aute insurance policy. All claims will be submitted

according to the coordination of benefit rules of the Primary payer (auto insurance). MD NOW may not file under your
health insurance as a secondary to the auto insurance (per 42 U.S.C. 1395y (b) (2) and 1862(b) (2) (A) (ii) of the Act).

See PIP packet for further detatis,

Medicare:MD NOW accepts Medicare and follows its guidelines in submitting claims to Medicare and any in-network

Medicare replacement plans. If you do not have a secondary insurance, you will be responsible for your deductible,

coinsurance, and non-covered services. MD NOW will submit to your secondary insurance if we are in-network;

however, depending on your policy, you may be responsible for any remaining balance.

Medicaid: MD NOW does not accept Medicaid, except for a few select HMO plans (Amerigroup, etc.).

By signing on the signature page, | understand and agree to the contents of section Il

Section [¥:

jent Con and Ri bil

INFORMED CONSENT FOR GENERAL MEDICAL AND MINOR SURGICAL TREATMENT: 1 hereby authorize MD NOW, the

Physician(s), physician assistant(s) and/or the nurse practitioner(s) in charge of my care to administer any treatment,

receive results of tests and services rendered, administer anesthetics and medications, and perform surgical

procedures, laboratory tests {including blood tests for any disease or condition and any genetic test, as appropriate).

Consent is given for MD NOW to provide these treatments and procedures, as outlined in its list of services provided

(and/or discussed with the provider). Risks and/ar benefits will be discussed with the physician(s), physician assistant

(s) and/or the nurse practitioner(s) and/or documented, as appropriate. | acknowledge that | have the opportunity to

discuss any questions, issues, or concerns with the provider prior to receiving any testing, treatment, or minor

procedure for my condition. Any and all results will remain the property of the patient and shall remain confidential. |
also authorize MD NOW, the Physician(s), physician assistant(s), and/or the nurse Practitioner(s) in charge of my care
to dispose of any tissues or body parts removed, as deemed necessary or advisable in my diagnosis and treatment. |
understand that no guarantee has been made as to the results of the care, treatment, and/or medications given to
me. | understand that Urgent Care Medicine is not intended to be complete and definitive care and/or treatment, and
as such it is even more important that I follow up with my internal medicine physician, pediatrician, or family
medicine practitioner, and with any and all specialists recommended to me by MD NOW?s staff.

FINANCIAL AGREEMENT: { hereby guarantee payment of all charges incurred for services rendered at MD NOW unless a

Current valid authorization for payment is provided by my employer or insurance company. | hereby acknowledge that

if | am over the age of 18 years old, | am personally responsible for any amounts deemed as patient responsibility,

whether | am listed as a dependent of or the policy holder of any insurance plan. In addition, | understand that if | am
the legal representative or custodian of a minor, | assume any and all financial responsibility resulting from services
rendered to the minor. | understand the cost af my medical care is dependent upon the nature and complexity of my
iliness or injury, and the determination of which can only be established by the physician or medical practitioner in
charge of my care. Additional charges for lab work, x-rays, medications, physical therapy, and pharmacy services may
apply. | understand that any verbal information given to me by center staff regarding MD NOW fees and services is for
informational ourooses only and renresents in no wav a contract between MD NOW and me. No verbal contracts have

 

 

 

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than $1 (one dollar), your account may have a credit balance. The amount will be rounded to the next dollar,
: | RELEASE OF LIABILITY: In consideration for the rendition of medical services, I hereby voluntarily release, waive, and
a | discharge MD NOW, their staff, contractors, lessors, heirs, successors, and/or assigns from any and all claims,
demands, damages, costs, loss of services, expenses, compensation, and causes of action of any nature whatsoever
| Connected with the rendition of medical services which 1, my spouse, my heirs, my assigns, my legal representatives,
| OF my successors may have against any of them arising out of, or in any way growing out of personal injuries or death
| having already resulted or to result at any time in the future, whether or not they are in the contemplation of the
parties at the present time. | understand that this waiver includes any claims based on negligence, action or inaction
| of MD NOW, their staff, contractors, lessors, heirs, successors, and/or assigns. | understand | have other options to
| seek medical treatment elsewhere, but | voluntarily choose to be treated here. | have carefully read this release and
fully understand and agree with its contents, fam aware that this is a release of liability and a contract between
myself and MD NOW and said staff, employees, and contractors, and | sign it of my own free will.
ASSIGNMENT OF BENEFITS: if MD NOW participates with my insurance program(s), | understand that MD NOW, as a
; courtesy to me, will submit the charges for my visit to my primary and secondary insurance carriers. | assign payment
| directly to MD NOW. { understand that lam financially responsible for any Covered or non-covered services which are
| not paid by my primary or secondary insurance. Any credit balance resulting from payment of insurance or other
| Sources may be applied to other accounts owed to MO NOW or physicians by the insured or family.
| PRIVATE INSURANCE: [ understand that insurance? is a contract between my insurance company and me and not a
substitute for payment and that | am responsible for payment of my bill regardless of any insurance company?s
arbitrary determination of usual and customary rates. | hereby acknowledge that if 1 am over the age of 18 years ald, |
am personally responsible for any amounts deemed a5 patient responsibility, whether | am listed as a dependent of or
the policy holder of any insurance plan. In addition, | understand that if | am the legal representative or custodian of a
minor, | assume any and all financial responsibility resulting from services rendered to the minor. If there is any
question regarding coverage, benefits, or payment for services provided, | understand that it is my responsibility to
| Tesalve it. Furthermore, a fee of $20 shall be applied to my account in the event that my insurance reverses a claim
| Payment for any reason.
| FINANCIAL RESPONSIBILITY AND COLLECTION: If my balance is not paid after 60 days, the information necessary for
collection purposes will be forwarded to a professional collection agency. Furthermore, refundable credits of less than
$20 will be applied towards any outstanding balances and/or held as credit on account for any future visits unless a
| refund is requested. After each year, a fee of $10 may be applied to my delinquent account. Further, in the event of
a | referral to a collection agency or other third party, | agree to pay a charge of up to 40% of the outstanding principal
a amount of any balance not paid after 60 days to cover MD NOW?s and/or any third party?s collection-related costs, In
the event of any dispute regarding payment for services provided, | agree to pay all attorney?s fees and court costs
incurred at both the trial level and in any appellate court,
MEDICARE ASSIGNMENT AND AUTHORIZATION TO RELEASE INFORMATION AND PAYMENT REQUEST: | certify that the
information | provided to apply for payment under Title XV#Il or Title XIX of the Social Security Act is correct. |
authorize the release of all medical or other information to Social Security Administration, | assign benefits that
payment be made directly to MD NOW for charges that MD NOW may be authorized to bill. | understand that | am
| fesponsible for any deductibles, coinsurances, co-payments, and non-covered services, as applicable.
| USES AND DISCLOSURES OF HEALTH INFORMATION: | understand that MD NOW will use and disclose my personal health
| information to provide treatment, process payment claims, and/or as necessary for healthcare operations (e.g.,
Utilization Review, etc.), or as required by law. This includes release of information to insurance carriers, third party
Payers or their agents, ancillary medical providers (€.g., physical therapy, occupational therapy, imaging facilities,
etc.), other medical providers, and law enforcement agencies with any right to privacy waivers, including any
: treatment for mental illness, alcohol abuse, drug abuse, and/or HIV, as may be necessary. For details of uses and
5 disclosures, refer to MD NOW?s Notice of Privacy Practices.
: PATIENT HIPAA FORM: | have been given the opportunity to review MD NOW?s Health insurance Portability and
Accountability Act Notice of Privacy Practices.
EMAIL NOTIFICATION: I was given the option of ?opting in? to receive email communication, patient portal access,
, Surveys, and newsletters. { understand that if { provide an email address, | may receive emails fram MD NOW.
: | By signing on the signature page, } understand and agree to the contents of section IV.
' | Notice About Nendiscrimination and Accessibility Requirements
= | Section V:
| MD Now Urgent Care complies with applicable Federal civil rights laws and does not discriminate on the basis of race,
| color, national origin, age, disability, or sex. MD Now Urgent Care does not exclude people or treat them differently
because of race, color, national origin, age, disability, or sex.
MD Now Urgent Care:
Provides free aids and services to people with disabilities to communicate effectively with us, such as:
Qualified sign language interpreters.
Written information in other formats (large print, audio, accessible electronic formats, other formats)
| Provides free language services to people whose primary language is not English, such as
| Qualified interpreters
| Information written in other languages

 

 

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| Page 4 of 4

if you believe that MD Now Urgent Care has failed to provide these services or discriminated in another way on the
basis of race, color, national origin, age, disability, or Sex, you Can file a grievance with: Clinical Quality Assurance
Coordinator, 2007 Palm Beach Lakes Bivd., West Paim Beach, FL 33409, Tel: 561-420-8555, Fax: 561-420-8550, Email:
info@mdnow.com
You can file a grievance in person or by mail, fax, or email. if you need help filing a grievance, the Clinical Quality
Assurance Coordinator, is available to help you. You can also file a civil rights complaint with the U.S. Department of
Health and Human Services, Office for Civil Rights, electronically through the Office for Civil Rights Complaint Portal,
available at: https:/ ‘ocrportal.hhs.gov/ocr/portal/lobby. jsf, or by mail or phone at:
U.S. Department of Health and Human Services, 200 independence Avenue, SW, Room 509F, HHH Building
Washington, D.C, 20204
1-800-368-1019, 1-800-537-7697 (7! DD}
Complaint forms are available at http:/ /www.bhs.gov/ocr/affice/file/index.html

By signing on the signature page, | understand and agree to the contents of section ¥.

&y my signature, | certify that i am the patient or the patient?s fegal representative, and | have completely
read and | fully understand and am in agreement with ali the consents, releases, responsibilities, and
disclosures contained in this record (Sections t, H, ift, Iv, & ¥) and voluntarily execute them. { understand that
the consents regarding my personai health information are subject to revocation at any time, except to the
extent that action has been taken in reliance thereon, and that said consents shall remain in effect until {
choose to revoke them in writing.

 

Signature of Patient or Personal Representative Date
“Please inquire at the front desk if you have any questions regarding the above. Any billing questions, issues,
concerns, or comments, please email info@mymdnow.com, or call 561-420-8555.

: Signed On:2019-01-13
/ 08:01:000 WA)

ide eee ay,

 

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* Case 1:20-cv-21993-MGC Document 24 Entered on FLSD Docket 07/28/2020 Page 29 of 56
: Page 1 of 1

Patient Name: RAYO,MARVELI DOB: 11/06/1977 Account No: 1557333 MRN:
Intake Form: Sign In -Questions Upload Date: Jan 13 2019 , 08:01 AM
atient preference regarding co: munication of medical information

I hereby give permission to disclose and discuss any information related to my medical condition(s)
with the following family member, relative, or other person:

Additional Demographic Questions
Social Security Number

Employer Name

**NOTE: This individual will be listed as your emergency contact.
Contact Name: I hereby give permission to disclose and discuss any information related to my medical condition(s)
with the following family member, relative, or other person:

I

 

 

 

 

Emergency Contact Number
Contact Number

Emergency Contact Relationship
Contact Relationship

Voicemail
Allowed to leave a Voicemail?

O ves a No

Would you like your flu shot today?

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Case 1:20-cv-21993-MGC Document 24 Entered on FLSD Docket 07/28/2020 Page 30 of 56

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Page 1 of 1

Vendor: eClinicalWorks

 

 

 

*39720482-4 A781 7642" . Quest Diagnostics : eREQ

‘ Client Information: | Y

: Account Ne: 39720482

Name: BRK MD NOW MEDICAL CENTERS INC

Address: 1250 SOUTH MIAMI! AVE

City, State, Zip: MIAMI , FL, 33130-4100

Phone Number: 305-571-6250

Patient Int jormation:

Ref Lab +: 1A7817642

     

 

 
 

Patient pees RAYO, MARVEL! Sex: F Date of Birth: 11/06/1977
Patient Phone: 789-548-6787 Pat ID: 1557333

Patient Address: 3223 NW 1iTR CT
City, State, Zip: MIAMI FL 33127-3219

   
  
   
     

 

Phy Name: TABI, GEORGE UPIN: NPI: 1104180835 Phy ID: 694094

ae Information: Bill To: Insurance
sible Party/Insured's Information:
Nem and Insured : RAYO, MARVELI Relationship: Self

Address: 3223 NW 11TH CT,
City, State, Zip: MIAMI, FL 33127

 

 

 

Insurance Info: Bill Code: UNK

Policy#: 48FL0005647 Group Number: 0

insurance Co Name : NORMANDY INSURANCE Payor/Carrler Coda: UNK

Insurance Address: PO BOX 1569 Subscriber/Member# : RAYO, MARVELI

City, State, Zip: DEERFIELD BEACH, FL 33443

Ambient Tests Ordered: Comments: : ADE: —— sis STAT: Fasting:
6399 - ICBC w/ diffyplt* . 201810
10231 4 -Comprehensive Metabolic 701810
Pane! (eMP)*

763 - -Rartlal Thromboplastin Time 701810
(PTT), Activated*

8847 - -Prothrombin Time w/ INR 2701810
(PT)*

Physiclan's Signature

ix

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Summary View for RAYO, MARVELI | Account Number:1557333 Page 1 of 4

 

| LABS/DIAGN/IMMIG
i .

; Patient: RAYO, MARVELI : .

a Account Number: 1557333 Provider: George Tabi, MD

DOB: 1/06/1977 Age: 41Y Sex: Female Date: 01/13/2019

Phone: 789-548-6787

Address: 3223 NW 11TH CT, MIAMI, FL-33127-3219

i

 

Subjective:

Chief Complaints:
a 1. ¥*PRE OP// ORDERS IN CHART ** .
: HPI:
| Assessment:
Urgent Care Visit
| Description of symptoms Pt here for pre-op clearance
Associated body part/system Other (describe)
Duration of symptoms Other (describe)
What was going on when the symptoms occurred? N/A
Is the patient uncomfortable or in pain? No
Describes pain or symptoms as: Other (describe)
Timing/Course of Symptoms (How often/when do symptoms occur?) Other (describe)
i | Does anything improve or worsen symptoms? No
a | Are there any associated symptoms? Wo
q _ Are symptoms related to a prior illness or injury? No
_ Has the patient tried OTC intervention or received treatment elsewhere? No
Pre-Operative Screening
Procedure? meniscectomy repair , meniscus root repair or arthrotomy with any necessary bony or
a soft tissue repair
a | Surgeon Name? (unknown name listed), only Surgical Assistant, Physician assistant unknown also
a | Body Part knee
a _ Allergy to Latex? none
: | Anesthesia Complications Previously? none
| Dentures none
= | Date of Surgery? 1/25/2019
8 _ History of MRSA Infection? none

 

ROS:
Constitutional:

NO Fever/Pyrexia. no Muscle Cramps/Spasm. no Headaches. no Bleeding. no Loss of
appetite/Anorexia.
Allergy:
No Runny nose. no Sinus congestion. no Post-nasal drip.
Cardiology:
no Chest pain. no Palpitations. no Shortness of breath. no Irregular Beats. no Murmurs.
Dermatology:
no Redness. no swelling. no Wound.
Endocrinology:
no Fatigue. no Excessive sweating. no Excessive thirst. no Excessive urination. no Weight loss.
no Sleep disturbance. no Cold intolerance. no Heat intolerence. no Weight gain.
ENT:
no Cough. no Sore throat. no Nasai congestion.
Gas rol :
no Nausea. no Vomiting. no Abdominal pain. no Diarrhea. no Constipation.
Hematology/Lymph:
no Swollen Lymph Nodes. no Easy bruising.
Musculoskeletal:
no Joint swelling. no Joint stiffness. no Back pain. no Neck pain. no Pain in limbs/extremity.

Neurology:
no Gait abnormality. no neck stiffness.

 

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Summary View for RAYO, MARVELI | Account Number:1557333 Page 2 of 4

Opthalmology:

no Diminished vision. no Loss of vision. no Pain in eye/periorbital pain.
Respiratory:

no Shortness of breath. no Chest wall-rib pain. no Cough. no Wheezing.

 

Medical History: HIGH BLOOD PRESSURE, Diabetes meilitus.
Surgical History: CHILD BIRTH .
Hospitalization /Major Diagnostic Procedure: Denies Past Hospitalization.
Family History: Father: deceased. Mother: alive.
Social History:
Smokinag/ Tobacco Use Assessment
moking history Patient is a Non-smoker
interest in quiting Patient is a Non-smoker
Alcohol Screening
id you have a drink containing alcohol in the past year? No
if "Yes": How Often? Monthly or Less
If "Yes": How many drinks did you have day? 0
If "Yes": How often did you have 6 or more drinks on one ocassion? Never

Medications: Taking metformin , Medication List reviewed and reconciled with the patient
Allergies: N.K.D.A.

 

Objective:
Vitals: Initials kb, BP 127/79, HR 68, RR 18, O2 Sat 106, Temp 98.8, Ht 60, Wt 160 Ibs, BMI 31.24
Index, Pain 0 to 10 (10 worse) 0, Last Tetanus unk, Preg? denies, LMP denies .
Examination:
General Examination:

General NAD, Normal and Healthy Appearing, Alert & Oriented x 3, Active & Ambulatory.

HEENT PERLA, EOMI, pharynx and tonsils normal, TM's clear, Ear canals normal, nose clear.

Oral cavity Normal-no jesions, airway patent.

Neck supple, no lymphadenopathy, normal ROM of C-Spine.

Heart Normal, RSR, normal $1/S2, No Murmurs.

Lungs CTA/Normal, No Crackles, Rhonchi or Wheezes, good air exchange.

Abdomen soft, NT/ND, BS present, no rebound, guarding or rigidity, no masses felt, no
hepatosplenomegaly.

Neurologic exam No focal deficits/Grossly Intact/Unremarkable, no meningeal signs, gait
normal, normal strength, tone and reflexes, neuromuscular intact.

Skin normal, no rash .

Peripheral pulses normal (2+-) bilaterally.

Back no CVA tenderness, normal ROM of spines.

Extremities normal ROM, no clubbing, cyanosis or edema, Muscle tone and Sensations
normal, NO Homans Sign, all other joints & extremities normal, no obvious abnormality/injury
noted.

Peri- rativ' ment:
Risk Factor INTERMEDIATE RISK.

Assessment:

Assessment:
1. Encounter for preprocedural cardiovascular examination - Z01.810 (Primary)

2. Pre-op examination - 201,818
3. Injury of left knee, initial encounter - S89,92XA

Pian:
i. Encounter for preprocedural cardiovascular examination

B: Urinalysis, Offi

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Summary View for RAYO, MARVELI | Account Number:1557333 Page 3 of 4
7
4 Color yellow
a Clarity clear
= SG 1.020
pH 7.0
| trace-
me intact
LEU neg
ue neg
L neg
neg
PRO neg
GLU neg
URO 0.2eu/di
i Wooten,Kanitha 01/13/2019 08:50:11 AM EST > kb
LAB: -Comprehensive Metabolic Panel (CMP}*

| Wooten,Kanitha 01/13/2019 08:50:00 AM EST > kb

:
ig LAB: -CBC w/ diff/plt*
= | BARJON, KATIANA 01/13/2019 09:00:33 AM EST > kb
4 LAB: -Prothrombin Time w/ INR (PT)*
= BARION,KATIANA 01/13/2019 09:01:00 AM EST > KB
LAB: -Partial Thromboplastin Time (PTT), Activated*

| BARJON, KATIANA 01/13/2019 09:01:20 AM EST > KB

Imaging: EKG 12-LEAD, ATRIA/MORTARA

Wooten,Kanitha 01/13/2019 08:46:41 AM EST > kb BARIJON, KATIANA 01/13/2019 09:02:14 AM
EST > KB

 

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Notes: Pt states she is having a left knee arthoscopy
Follow surgeons recommendations

EKG showed no acute pathology.
2. Others
Notes:
Based on our medical consultation and evaluation today, we consider this patient to be at INTERMEDIATE

i

RISK for a peri-Operative cardiac event PENDING labs and chest x-ray overread.
: PLEASE NOTE: This preoperative risk stratification, along with any testing, labs, referrals and recommendations

4 were based on today s current history and physical exam, along with the patient s self-reported past medical, surgical,
and family history, and their self-reported allergies and current medications. We have evaluated the Patient based on
our examination today and may have obtained additional testing and labs requested by the patient s surgeon. We are
not the patient s surgeon nor primary care provider and limited or no medical records were available for review during
the visit. The final decision to proceed with the surgical procedure is ultimately up to the patient s surgeon to decide

after weighing the overall risk and benefits to the patient of the proposed surgical procedure.

Procedure Codes: PROI PRE OP INTERMEDIATE RISK TRACKING CODE, 93000 EKG, 85730 PTT,
ACTIVATED, 85025 CBC W/AUTO DIFF WBC, 85610 PROTHROMBIN TIME, 80053 Comprehensive Metabolic

Panel, 81003 Urinalysis, Modifiers: QW

|
Follow Up: Follow up with your Surgeon within 2-3 days for further evaluation,Return here or ER
IMMEDIATELY if worsen or no improvement

q Billing Information:

Visit Code: 99203 3_Office Visit, New Pt., Level 3.
Procedure Codes: PROI PRE OP INTERMEDIATE RISK TRACKING CODE. 93000 EKG. 85730 PTT ,
ACTIVATED. 85025 CBC W/AUTO DIFF WBC. 85610 PROTHROMBIN TIME. 80053 Comprehensive Metabolic

Panel. 81003 Urinalysis. Modifiers: QW

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Summary View for RAYO, MARVEL] | Account Number:1557333 Page 4 of 4

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a Provider: George Tabi, MD

e Patient: RAYO, MARVELI DOB: 11/06/1977 Date: 01/13/2019

4 Electronically signed by GEORGE TABI , MD on 01/13/2019 at 08:07 PM EST
= Sign off status: Completed

2 Addendum:

01/22/2019 01:59 PM Delafuente, Alejandro > CC update: Surgeon Name? Dr. Marc Ialenti, MD

 

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eRemittance - HUMANA INC

eRemittance - HUMANA INC

Payee :MD NOW MEDICAL CENTER INC
2007 PALM BEACH LAKES BLVD
WEST PALM BEACH FL 334096501

(010790511 }

Payor : HUMANA INC (133052274
P.O. BOX 14601
LEXINGTON KY 405124601

), (61101), (610647538)

Explanation of Payment

Claims:

(1)

Patient Name
Subscriber Name
Provider Name
Claim Staternent
Dates

Claim Status Description : Processed as Primary

RAYO MARVELI

PATEL SHRUTI

Patient ID

Serv Date Units Serv Code Billed Paid
01/15/2019 - 1 HC<90214 $155.06 $55.00
61/15/2019

 

Adjustment Group Codes

CO: Contractual Obligations

PI : Payor Initiated Reductions
PR; Patient Responsibility

Adjustment Reason Codes

1: Deductible Amount

3: Co-payment Amount

27 :; Expenses incurred after coverage terminated.

131: Claim specific negotiated discount.

146: Diagnosis was invalid for the dates) of service reported,
Bi6: ‘New Patient’ qualifications were not met.

M76: Missing/incomplete/invalid diagnosis or condition.

|
}

Payer Claim ID
Provider Claim ID 3313719
01/15/2019 - 01/15/2019 Received Date

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Page | of |

Date: 02/21/2019
NPI: 1033195474
TIN: 257299
Reference ID:
003680001274512
Amount: $2145.00

1

113096234 Claim Status
201902186604787 Claim Amount $155.00
Paid Amount $55.00

02/18/2019 Pt Responsibility $100.00

Allowed Adjustments
$155.00 PR-3: $100.00

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HUMANA CHOICE CARE/COMMERCIAL '

 

fale PO BOX 14601 x
FEE
HEALTH INSURANCE CLAIM FORM =
APPROVED SY NATIONAL UNIFORM CLAM COMMITTEE (NUCC) gart2 LEXINGTON KY 405124600 3
RKX PCA PICA REXY
1, MEDICARE MEDICAID TRICARE rf ja INSURED'S 10 NUMBER (For Program in Hem 1) ive
Petteatacon [| reaesian [~] uoscone) 113096234-01 ie

 

2. PATIENT'S NAME {Lasl Name, Fist Name, Middis ingial}
RAYO, MARVELI

8. PATIENTS ADDRESS (Ne., Stree!)
3223 NW 11TH CT

4 INSUREO'S NAME {Last Name, First Name, Micidla inthal}

RAYO, MARVELTI

7 INSUREDS ADDRESS ia, Steet)

3223 NW 11TH CT

 

 

     

 

 

 

 

 

 

  

 

 

   

 

 

   

 

 

 

 

     
 
  

 

 

 

 

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9. OTHER INSURED'S NAME [Last Name, Fest Name, Middle initial) i 10.5 PATIENTS COND i INSURED'S POLICY GROUP OA FECA NUMBER 1H
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4, OTHER INSURED'S POLICY OF GROUP NUMBER 2 EMBLOVMENT? 1c SEX | oe
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Summary View

Patient: RAYO, MARVELI

DOB: 11/06/1977

Address: 3223 NW 11TH CT, MIAMI, FL, US, 33127-3219

Claim Date: 06/15/2019
Provider: PATEL, SHRUTI

Encounter Date: 01/15/2019

r>—€ase 1:20-cv-21993-MGC Document 24 Entered on FLSD Docket 07/28/2020 Page 40 of 56

Phone: 789-548-6787

Total Amount: $ 155.00 Payments/Adjustments: $55.00 Balance: $ 100.00
Claim Number: 3313719 Filing Status: Patient

ICD Codes:

E11.9 Type 2 diabetes mellitus without complication, without long-term current use of insulin.

276.0 Medication refill.
110 Essential hypertension.

D5G.8 Other iron deficiency anemia.

CPT Codes:
Code Modifiers StartDt End Bt POS
99214 4_Office Visit, Est Pt., z é
revels 01/15/2019 01/15/2019 70-Urgent
ICST IC SYSTEM TRACKING 01/15/2019 01/15/2019 20-Urgent

Care

Insurances :
Name Group No Subscriber No Type
HUMANA CHOICE

CARE/COMMERCIAL 113096234-61 Cl

PLANS

Payment :

From Date Type Check No
Claim Data :

Symptom Indicator: First Symptom Date

Claim Header :
Residence Type:

Student Status:
Employment Status:
Primary Insurance:

Claim Type: Medical

Claim Log:

04/19/2019 O7:48 AM ( 3017761 jePatientStatement Submitted
03/29/2019 O9:18AM ( 3017761 jePatientStatement Submitted
02/18/2019 10:25AM ( 3017761 }Electronic Submission to HUMANA CHOICE CARE/COMMERCIAL PLANS

Page 1 of 1

Tos Unit Fee Units Billed Fee

1 -Medical
Care $155.00 1.00 $155.06

1 -Medical
Care $0.00 1.00 $0.00

File Status

Payment

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Summary View for RAYO, MARVELI | Account Number:1557333 Page | of 3

Progress Notes

Patient: RAYO, MARVELI ss
Account Number: 1557333 Provider: SHRUTI PATEL, MD
DOB: 11/06/1977 Age: 41 Y Sex: Female Date: 01/15/2019
Phone: 789-548-6787

Address: 3223 NW 11TH CT, MIAMI, FL-33127-3219

Subjective:

Chief Complaints:
i. Check for results.
HPI:

Assessment:
Physical

Type of Physical: Other (list)
Additional details: Pt presents to explain lab results
MD note- 41 year old female here to discuss lab results. she is requesitng refills on meds for dm, htn.
takes metformin 500mg bid, unsure of last alc, does not check bg at home. FBG done in office 148.
currently in between primary care physicians. also requesting refill on lisinopril 2.5mqg daily. no chest pain,
dyspnea, palpitations, headaches, vision changes.
ROS:
_ Constitutional:
Fatigue/Weakness yes. no Muscle Cramps/Spasm. no Shortness of Breath. no Vertigo/Dizziness.
no Headaches. no Bleeding. no Loss of appetite/Anorexia.
Allergy:
no Runny nose. no Sinus congestion, no Post-nasal drip.
Cardiology:
no Chest pain. no Palpitations. no Leg swelling/edema. no Dizziness/Vertigo. no Shortness of
breath. no Irregular Beats. no Murmurs.
Endocrinology:
no Fatigue.
ENT:
no Cough. no Sore throat. no Nasal congestion.

Gastroenterology:
no Nausea. no Vomiting. no Abdominal pain. no Diarrhea. no Constipation.

Hematology/Lymph:

no Swollen Lymph Nodes. no Easy bruising.
Musculoskeletal:

no Back pain. nO Numbness/Tingling. no Neck pain.

Neurology:
no Headache. no Numbness and Tingling. no Dizziness/Vertigo. no neck stiffness.

Opthalmoloay:
no Diminished vision. no Blurring of vision. no Loss of vision,

Respiratory:
no Shortness of breath. no Cough. no Wheezing. no Hyperventilation/Tachypneic.

Medical History: HIGH BLOOD PRESSURE, Diabetes mellitus.
Surgical History: CHILD BIRTH .
Family History: Father: deceased. Mother: alive.

Social History:
Smoking/ Tobacco Use Assessment
Smoking history Patient is a Non-smoker
Interest in quiting Patient is a Nen-smoker
Alcohol Screening
Did you have a drink containing aicohol in the past year? No
If "Yes": How Often? Monthiy or Less

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Summary View for RAYO, MARVELI | Account Number:1557333 Page 2 of 3

If "Yes": How many drinks did you have day? o
If "Yes": How often did you have 6 or more drinks on one ocassion? Never

Medications: Taking metformin , Medication List reviewed and reconciled with the patient
Allergies: N.K.D.A.

Objective:

Vitals: Initials MM, BP 122/74, HR 84, RR 18, O2 Sat 100, Temp 98.3, Ht 60, Wt 160 lbs, BMI 31,24 index,
Pain 0 to 10 (10 worse) 0, Last Tetanus UNK, Preg? Denies, LMP NA,
Examination:
General Examination:

General NAD, Normal and Healthy Appearing, Alert & Oriented x 3, Active & Ambulatory.

HEENT PERLA, EOMI, pharynx and tonsils normal, TM's clear, Ear canals normal, nose clear.

Oral cavity Normal-no lesions, airway patent,

Neck supple, no lymphadenopathy, normal ROM of C-Spine.

Heart Normal, RSR, normal $1/S2, No Murmurs.

Lungs CTA/Normal, No Crackles, Rhonchi or Wheezes, good air exchange.

Abdomen soft, NT/ND, BS present, no rebound, guarding or rigidity, no masses felt, no
hepatosplenomegaly.

Neurologic exam No focal deficits/Grossly Intact/Unremarkable, no meningeal signs, gait
normal, normal strength, tone and reflexes, neuromuscular intact,

Skin normal, no rash .

Peripheral pulses normal (2+) bilaterally.

Back no CVA tenderness, normal ROM of spines.

Extremities normal ROM, no clubbing, cyanosis or edema, Muscle tone and Sensations
normal, NO Homans Sign, all other joints & extremities normal, no obvious abnormality/injury
noted,

 

Assessment:

Assessment:

1. Type 2 diabetes mellitus without complication, without long-term current use of insulin - E11.9
(Primary)

2. Medication refill - Z76.0

3. Essential hypertension - 110

4, Other iron deficiency anemia - D50.8

Plan:

1. Type 2 diabetes mellitus without complication, without long-term current use of insulin

Start metformin tablet, 500 mg, 1 tab(s), orally, 2 times a day, 30 day(s), 60, Refills O (Zero) .

Notes: patient requesting refills on metofrmin 300mg BID. FBG 148 on recent Jab work. unsure of last alc.
is looking to establish care with new pcp.

2. Essential hypertension
Start lisinopril tablet, 2.5 mg, 1 tab(s), orally, once a day, 30 day(s), 30, Refills 0 (Zero) .
Notes: BP weil controlled on meds. given refill x1 month.

3. Other iron deficiency anemia

Start ferrous sulfate tablet, 325 mg, 1 tab(s), orally, 2 times a day, 30 day(s), 60 Tablet, Refills 0

(Zero) . ;

Notes: per labs, hgb 10.1 with mcv 71 consistent with iron deficiency anemia. will given ferrous sulfate.
needs to have labs redrawn in 4 weeks with us or pcp. ed precuations given for any signs or symptoms of
bleeding.

4, Others
Notes:

Diabetes is a long-term health problem. It means your body does not make enough insulin. Or it may
mean that your body cannot use the insulin it makes. Insulin is a hormone in your body. It lets blood
sugar (glucose) reach the cells in your body. All of your cells need glucose for fuel. When you have

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Summary View for RAYO, MARVELI | Account Number:1557333 Page 3 of 3

diabetes, the glucose in your blood builds up because it cannot get into the ceils. This buildup is called
high blood sugar (hyperglycemia). Your blood sugar levei depends on severa! things. It depends on what
kind of food you eat and how much of it you eat. It also depends on how much exercise you get, and how
much insulin you have in your body. Eating too much of the wrong kinds of food or not taking diabetes
medicine on time can cause high biood sugar. Infections can cause high blood sugar even if you are taking
medicines correctly. These things can alse cause low blood sugar: ,Missing meals, Not eating enough food,
Taking too much diabetes medicine. Diabetes can cause serious problems over time if you do not get
treated. These problems include heart disease, stroke, kidney failure, and blindness. They also include
nerve pain or loss of feeling in your legs and feet, and gangrene of the feet. By keeping your blood sugar
under contro! you can prevent or delay these problems. Normal blood sugar levels are 80 to 100 before a
meal and less than 180 in the 1 to 2 hours after a meal. Home Care: Follow these guidelines when caring
for yourself at home: Follow the diet your healthcare provider gives you. Take insulin or other diabetes
medicine exactly as told to. Watch your blood sugar as you are told to. Keep a log of your results. This will
help your provider change your medicines to keep your biood sugar under control. Try to reach your ideal
weight. You may be able to cut back on or not have to take diabetes medicine if you eat the right foods
and get exercise. Do not smoke. Smoking worsens the effects of diabetes on your circulation. You are
much more likely to have a heart attack if you have diabetes and you smoke. Take good care of your feet.
If you have lost feeling in your feet, you may not see an injury or infection. Check your feet and between
your toes at least once a week. Wear a medical alert bracelet or necklace, or carry a card in your wallet
that says you have diabetes. This will help healthcare providers give you the right care if you get very ill
and cannot tell them that you have diabetes.

Preventive:
CMS Survey/Counseling for Meaningful Use, May not be clinically relevant to visit.:
BMI Follow up Plan:
Above Normal 8MI Follow-up *** If above normal BMI - Exercise and Diet Encouraged ***
Below Normal BMI Follow-up *** If Below Normal BMI - Lifestyie and Diet education Recomended
eK

BP Management:
Instructions: *** Diet, Lifestyle, treatment and/or referral provided as needed ***

Alcohol Counseling:
ETOH Consumption: *** Recommendation provided if needed ***

Smoking:
Options for smoke cessatian *** If you smoke, ask us about options to quit ***

Follow Up: Follow up with PCP in 2-3 days for further evaluation Return here or ER IMMEDIATELY if
worsen or no improvement

Billing Information:

Visit Code: 99214 4_Office Visit, Est Pt., Level 4.
Procedure Codes:

Provider: SHRUTI PATEL, MD
Patient: RAYO, MARVEL] DOB: 11/06/1977 Date: 01/15/2019

Electronically signed by SHRUTI PATEL , MD on O1/E5/2019 at 08:30 PM EST
Sign off status: Completed

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a MD NOW ~ RAYO, MARVELI

URGENT CARE 41/06/1977
BRK MD NOW MEDICAL CENTERS INC 2019-01-15

Visit Summary

Diagnosis Additional Notes
Type 2 diabetes mellitus without ~

complication, without long-term

current use of insulin Medication

refill Essential hypertension

Other iron deficiency anemia

Referral information Next Appointment

* Follow up with PCP in 2-3 days
for further evaluation Return
hare or ER IMMEDIATELY if
worsen or no improvement

= a
Prescriptions
: Medication Pharmacy Status Notes Other Info
Start lisinopril NAVARRO DISCOUNT eRx - once a day orally 0 (Zero} 30 day(s} 2.5 mg 1 tab(s} 30
: PHARMACY #03 tablet
Q Start metformin NAVARRO DISCOUNT eRx * 2 limes a day orally 0 (Zero) 30 day(s} 500 mg 1 tab(s) 60
: PHARMACY #03 tablet
© Start ferrous NAVARRO DISCOUNT eRx - 2 times a day orally 0 (Zero) 30 day(s) 325 mg 1 tab(s) 60
sulfate PHARMACY #03 Tablet tablet

_ \BOUT YOUR RESPONSIBILITIES

\FTER YOU LEAVE, YOU MUST PROPERLY CARE FOR YOUR PROBLEM AND OBSERVE {T'S PROGRESS. IF YOU DONOT
MPROVE AS EXPECTED, OR ARE WORSE, DO ONE OF THE FOLLOWING, IMMEDIATELY: CONTACT YOUR DOCTOR, OR
SPECIALIST, OR CALL MD NOW, OR RETURN HERE

THE DOCTOR THINKS YOUR SYMPTOMS MAY BE DUE TO DIAGNOSIS/ SYMPTOMS LISTED ABOVE

4 <eep this in mind:OLAGNOSIS WITH 100% CERTAINTY IS NOT POSSIBLE in the Urgent Care Center. Therefore, if you find you are not
_ yetting better, another diagnosis is possible, and you must see your doctor, or return here.

4 ibove Normal Body Mass: Index Today, your Body Mass Index (BM}} was measured above 30. The correlation between the BMI and

ody fatness is fairly strong'2:37 , but even if 2 people have the same BMI their level of body fatness may diffe?. in general, At the same
3MI, women tendto Ihave more body fat than men. At the same BMI, Blacks have less body fat than do Whites 14 , and Asians have
nore body fat than do Whites ‘5 At the same BMI, older people, on average, tend to have more body fat than younger adults. At the same

_ 3Mi, athletes have less body fat than do non-athletes. The accuracy of BMI as an indicator of body fatness also appears to be higher in

a ,ersons with higher levels of BMI and body fatness.’ While, a person with a very high BMI {e.g., 35 kgint} is very likely to have high body
at, a relatively high EJMI can be the resulte of elther high body fat or high lean body mass (muscle and bone). A trained healthcare provider
_ ihould perform appropriate health assessments in order to evaluate an individual's health status and risks.

- Jatient Portal: if you! provided us with your e-mail address you will receive a User name and temporary password that will allow you to log

- nto your Patient Portal where you will be able to view your Visit Summary of your visit with the provider. You will receive an email with

his information. Ifyou did net provide us with an e-mail address during registration, please inform Check Out before the end of your visit
ind request a Patent Portal Brociure.

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'o access your Medical Discharge instructions for today’s visit: Log into Patient Portal. MDNOW.COM/PATIENTPORTAL, Once on
he Dashboard, click on Medical Records, then click on Visit Summary. To Access Lab Results, click on Lab/ Diagnostic Results.
Please note you will not have access to any reports from Diagnostic imaging facilities you may have been referred to.

taport any changes in your condition or concams you may have immediately to MD Now Urgent Care Center, your Family Physician, or go
o the nearest Hospital Emergency Room. ,

f there is NO improvement, or your condition WORSENS, call your Primary Care Physician, RETURN t¥iD NOW Urgent Care
2anter, or go to the nearest Emergency Room. If you are experiencing a fife threatening emergency call 914! Federal law defines
i emergency medical condition as follows:

in “emergency médical condition” means a medical condition manifesting itself by acute symptoms of sufficient severity (including severe
1ain, psychiatric disfrubances, and/or symptoms of substance abuse) such that the absence of immediate medical attention could

_ easonably be expected to resuit in: Placing the health of the individuai (or, with respect to a pregnant woman, the health of a woman of her
_ inborn child) in serious jeopardy; Serious impairment to any bodily functions; Serious dysfunction of any bodily organ or part.

= fyou think or feel that there is an emergency, but are not sure, assume it is an emergency and DIAL 911.

*ATIENT ACKNOWLEDGEMENT:

" understand the physical examination, medical care or any vaccinations which | may have received are not intended to be complete and
lefinitive care and treatment. | acknowledge! have been instructed to contact my Primary Care Physician, or a Specialist, immadiately for
| .ontinued and complete medical care and treatment. EKG's, X-Rays, and lab studies (If any) wil be reviewed by our Physicians (not a
3pecialist). The patient may be notified of significant discrepancies. If requested, a Specialist referral will be given.

understand, and.agree, that all of my questions conceming my examination, medical treatment or vaccines have been
inswered. | agree | have read and reviewed this document and received Patient Education regarding my Visit.

 

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Next Appointment: Follow up with PCP in 2-3 days for further evaluation Return here or ER IMMEDIATELY if worsan or no

improvement

|W Received discharge instructions # Verbalizes understanding ¥ Prescription Given
| MARVEL! RAYO Kyo 2019-01-15

: Print Patient Name Patient Signature/Guarantor Date

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7 MD NOW

URGENT CARE |

_ Notification of Diagnostic Test Results — ~ Against Medical Advice (AMA)
{Complete when @ patient refuses to sign in to discuss ean diagnostic imaging results with the Medical Provider)
La

pate {S| (4 Time: SSS pw
IMPORTANTI!! Specify what lab reports were given to the patient:

aa PT INE. CBC |.
i, (Patient's Name) , Date of Birth f have been advised by (Employee |
Name) Monica ae . the Medical Provider (Name) : abi J Oeorec- , and/or

Staff at MD Now Medica! Centers, Inc., that | am in need of the following:

b Testing [_] Diagnostic Imaging

 

 

 

 

  

oo @ been advised that my Lab/Diagnostic Imaging Test Results are within NORMAL limits.
OR
“ | |have been advised that some of my Lab/Diagnostic Imaging Test Results are NOT compietely within

normal range, or are ABNORMAL.

“tn order for us fo obtain a more correct diagnosis of your condition, our Provider recommends that you sign in for
further evaluation and/or medical care. We wouid like to discuss these results personally with you, as you may have
a condition which requires further testing and evaluation, prescription medication, referral to a medical specialist, or
other continued monitoring or medical care.

This is to advise you that your tab results or diagnostic imaging results may be inconclusive without further
evaluation. We strongly recommend you seek continued medical attention and the advice of a eualified healthcare
practitioner. Failure to do so may result in peril to your health and/or your life, ese

AGAINST MEDICAL ADVICE —- PLEASE READ & SIGN

| understand that by refusing to sign in today for continued evaluation and discussion of my fab or
diagnostic imaging results with a licensed Medical Practitioner, | may be placing my health in serious
jeopardy. | hereby voluntarily agree to accept this risk, and agree to release and hold harmless MD Now Medical!
Centers, Inc., its employees, agents, or assigns, including the above named Medical Provider(s), from any and ali
current and future liability whatsoever connected with my failure to seek continued medical advice as outlined

herein.

i also understand that MD Now strongly encourages me to seek the advice of the following specialist, if
applicable, or in the least, to follow up with my Primary Gare Physician regarding my lab results:

  
  

[| Specialist Referral List given to patient Patient will follow up with Primary Care Physician

The effect and nature of my failure to obtain the medical opinion of a licensed Medical Practitioner, which may
have included further evaluation, diagnosis, treatment, referral, transfer, or even immediate héspitalization, has.

been clearly explained to me. { understand and assume all of the risks and consequences. | also uhderstand that
i can always return here.and sign in for continued evaluation and treatment, if | so decide.

CH, j ) PEaEee DO NOT SIGN ws: =P.
fi

Signature i Witness Date

 

 

 

Provider Signature Date

MD.NOW.DOS.011519-000009

 
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#1 MD NOW

URGENT CARE

Consent for Release of M a
Patient Information edical & Billing Information

< Last Name: First Name: V | Maar
| Birth Date: a 06/7) SSN (last 4)

1, the above-referenced patient, hereby acknowledge and give authorizati ‘
records and billing. information as folios: . . tization for the release and disclosure of medical

Records to Be Received From

Practice Name:
Phone Number:
Fax Number:

 

 

 

 

 

 

 

 

 

Requested Documentation

 

Date(s} of Service: From: To:

CJ =~ Prearess notes Labs i
information to be ~ Ww ©) Digtal imaging
released: C) «Physical Therapy () AllMedical Records (3 Billing records

 

 

Records to Be Sent To
Name:
Address:

City, State, Zip:
Phone Number:
Fax Number:
Email:

 

 

 

 

 

 

 

By my signature, ! understand that the question of privacy between MD Now Medical Centers, inc., my attending physician, other
physician(s), other listed parties, and the patient is waived. | fully understand that my medical record or billing information
maintained in connection with the date(s) of service from incepticn until today may contain mental health, alcohol, and drug abuse
history, Human Immunodeficiency Virus (HIV) test results, or Acquired Immunodeficiency Syndrome {AIDS) information. |
understand that after the custodian of records discloses my health information, it may no longer be protected by federal privacy

laws.

Any medical records or billing information authorized to be disclosed hereunder are privileged and confidential and may be
disclosed only on my authorization, excapt as required by law. Once this information has been disclosed to the authorized party
above, | acknowledge that it may be subject to re-disclosure by the recipient, and my privacy may no longer be protected. Only
such records or information belleved necessary for the purpose expressed shall be released and disclosed. | may Inspect and
arrange for photocopies of the record that are disclosed. if | refuse to sign this authorization, my medical record will not be released,
except as required by law. | further understand that my records may not have been reviewed by the provider, and therefore, may
not be considered as full and complete records for legal purposes. Should ! require a legally verified and complete copy of my
records, | will have my physician or legal representative submit a request for such records in writing, along with consent for release’
of medical records in order to comply with HIPAA regulations.

This authorization is valid for one year from the signed date, oruntil__ / / . Lunderstand that I may revoke this authorization
at any time (except to the extent that action has already been taken in good faith reliance on this authorization) by submitting
revocation request to the medical records department.

By signing below, | represent and warrant that | have authority to sign this document and authorize the use or disclosure of
protected health and billing information and that there are no claims or orders pending or in effect that would prohibit, limit, or
otherwise restrict my ability to authorize the use or disclosure of this protected health ‘ billing information.

Signature: Mf, , . Date: f / 2 / S.
printname: AJAY VZ /) VCO-7O Phone No.: - z

Relationship to patient:

 

Document No. RAD RRCNAY THOS: 0 FISHAIE GE 17012

 

 
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Patient Name : RAYO, MARVEL

Payment Policy

For commercial insurance, MD Now Medical Centers, Inc. (hereinafter referred to as 7MD Now?) collects from you the
estimated amount of patient responsibility based on our insurance contracts and the eligibility information provided by
your insurance company at the time of service. If nothing is owed at the time of service, then MD Now will not callect
any money. Following your visit, you may receive an explanation of benefits (E0B) from your insurance company
stating the amount paid by your insurer and the remaining balance owed by you, if any.

 

iD Now accepts credit / debit cards, checks, and cash as valid forms of payment.

AS a Courtesy to our patients, MD Now keeps a credit / debit card authorization on file for each patient visit and will
charge the card for any balance not paid by your insurance for that visit only. MD Now will also automatically refund
your card if there are any amounts owed to you. if you have provided us your email address, you will receive an email
with the receipt for any charge or refund, if your visit has a $0 balance, then there will be no further charge or
refund.

 

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The security of your personal information is very important to us, which is why your credit / debit card data is stored
securely by First Data in a PC| DSS compliant credit card system, as required by VISA, MasterCard, American Express,
and Discover. MD Now?s clinic staff do not have access to your credit card information, and the data is not stored on
any MD Now computer system,

Payment Authorization

| authorize MD Now to charge my credit / debit card for any outstanding patient responsibility balances that remain
after insurance reimbursements have been applied for authorized medical services received at MD Now. | also
authorize MD Now to issue a refund to the same credit / debit card if there {sa balance due to me. | understand that |
will be billed directly by, and agree to pay, MD Now for any outstanding balances should my credit / debit card be
declined or cancelled. | also agree to reimburse MD Now the fees of any collection agency, which may be up to 40% of
a the balance owed, along with all costs and expenses, including reasonable attorneys? fees, if incurred in such

i collection efforts. If my account is sent to collections, such fees will be assessed by the collection agency on behalf of
MD Now, Similarly, | understand that { may be responsible for my balance due to any chargeback, reversal, or dispute
a8 a result of my credit card company?s or bank?s refusal to remit payment to MD Now.

Cardholder / Representative Authorizing Signature

Date

Cardholder / Representative Printed Name

j Signed On:2019-01-15
3 06:01:00 hype

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MD.NOW.DOS.011519-000011

 

 

 
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_ Patient Name : RAYO, MARVELI

PATIENT CONSENTS, RESPONSIBILITIES, AND DISCLOSURES

For purposes of these consents, responsibilities, and disclosures, the company names of 7MD NOW Medical

Centers, Inc.?; ?Primary Care MD, Inc.?; and 7MD NOW Urgent Care, Inc.?; hereon will be referred to as 7MD NOW.?

Section {:

Registration Consent and Disclosure

Insurance verification and/or payment is required for every office visit, all medical services, and/or any time spent

with one of our doctors or medical providers at the time of services. There is always a Doctor working in the facility at

all times; however, you may see a Certified Nurse Practitioner or Certified Physician?s Assistant (working alongside our

board certified physician) after you check in to be seen. You may specifically request to be seen by a physician;

however, you may have to wait a little longer to do so.

There are no guarantees that any patient will improve, get better, or be cured. Patients may need to return for

continued medical care, advice, or further treatment and will be required to pay at the beginning of each visit for any

a follow up care visits, return visits, and/or any time spent with a medical provider, to include additional medical

: services at the time of that visit. Medical advice may only be given after a patient is checked in and evaluated by one
of the medical providers, and not by the front desk staff. The front desk staff does not have the authority ta give an
verbal guarantee of specific treatment ar medications.
Patients may be referred to another doctor, a specialist, a hospital, or the ER for continued care, additional medical
advice, or more definitive medical care. There are no guarantees given, and a patient?s final diagnosis or continued
treatment may differ from their initial evatuation, diagnosis, treatment, or plan of care. In medicine, there are no
100% guarantees of a cure or improvement, and payment is for the medical office visit, any services, and/or time with

= our medical providers.

a MD NOW is not a “pain clinic” and as such, MD NOW does not provide long term or chronic pain management

services. MD NOW does NOT administer, dispense, or prescribe Oxycontin, Methadone, MS Contin, or similar

class II narcotic pain medication or Suboxone (Subutex) treatments. All prescriptions, therapies, medical analyses,

and treatments are rendered under a provider's license, and there are no guarantees that MD NOW providers will

prescribe a specific medication that you may desire.

Only after a medical examination is performed, a licensed medical provider may prescnbe, dispense, or administer a

z medication if believed to be appropriate for your medical treatment. All medications are given under our medical

a providers? licenses, and no refunds will be given because the treatment, prescription, or drug of your choice was

not given. Our front desk staff is not authorized to provide or suggest any medical advice, make any agreements

regarding the nature of the care you will receive, and/or guarantee that a specific treatment or medication will be

provided.

It is the policy of MD NOW that patients and visitors are responsible for all personal belongings and valuables brought

within any of the facility premises, including patient rooms. MD NOW will not assume liability or legal responsibility for

replacing or making reimbursements of lost, misplaced, stolen, or damaged belongings and valuables.

If you have any questions, comments, advice, or complaints regarding your medical care, please feel free to contact

the Medical Director and/or Office Administrator at info@mymdnow.com. If you have any billing questions, please

contact our billing department at billing@mymdnow.com. You may also contact MD NOW?s administration/bitling at

561-420-8555. The billing department is available for questions Monday through Friday 8am-8pm, and Saturday and

Sunday 8am-<ipm.

By signing on the signature page, | understand and agree te the contents of section I.

Section Il: :

Health insuraace Portability and Accountability Act

Consent for Purposes of Treatment, Payment, and Healthcare Operations:

By signing this farm, | consent to the use or disclosure of any protected health information for the purpose of

diagnosis, providing treatment, continuation of care, obtaining payment for rendered health care services and

procedures, and to conduct heaith care operations.

t understand that | have the right te recuest a restriction as to how my protected health information is used or

disclosed to carry out treatment, payment, or healthcare operations of the practice. MD NOW is not required to agree

to the rastrictions that | may request. | have the right to revoke this consent in writing, at any time, except to the

extent that MD NOW has taken action in reliance on this account.

My Zpro:ectec| health information? means health information, including my demographic information collected from

me, anc! collected or received by my physician, another health care provider, a health plan, my employer, or a health

care clearinghouse. This protected health information can be related to my past, present, or future physical or mental

health ar condition and identifies me, or there is a reasonable basis to believe this information may identify me.

| understand | have the right to review, MD NOW?s Notice of Privacy Practices prior to signing this document and that

MD NOWs Nistice of Privacy Practices has been made available to me. The Notice of Privacy Practices describes the

types of usesi and disclosures of my protected health information that can occur in my treatment, payment of my bills,

far in thanerfarmanre of health rare nmerations nf AD NOW

 

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the Notice of Privacy Practices. | may obtain a revised notice of privacy practices by calling the office and requesting a
revised copy be sent by mail or by asking for one at the time of my next appointment. | understand that the notice is
posted on MD NOW?s web site at: http://www. MyMDNow. com/HIPAA, html

By signing on the signature page, } understand and agree to the contents of section i.

Section ilt:
Insurances and Accepted Forms of P nit
Self-Pay: MD NOW has affordable self-pay fees for office visits, vaccinations, and other comprehensive medical
services. You can pay via debit, credit, cash, or check. Please inquire at the front desk for these prices, or ask the
medical assistant at time of service.
Private Health Insurance: MD NOW accepts most major Florida health insurances (e.g., Aetna, Cigna, BCBS, United,
Humana, Avmed, etc.), and some travel and other commercial insurances, including select PPOs and HMOs. However,
you are responsible for payment of your bill, regardless of any insurance company?s arbitrary determination of usual
and customary rates. MD NOW will attempt to verify your coverage; however, this is a contract between you and your
insurance company and not a substitute for payment. Deductibles, co-pays, and coinsurance are your financial
responsibility under your benefit plan. Some services may not be covered under our contract with the insurance; MD
NOW will attempt to advise you in advance of the costs,
Workers? Compensation: According to Florida state law, all claims sent for patients being treated due to a workers?
compensation injury will be sent through the workers? compensation insurance. Health insurance policies generally
exclude payment for any benefits for work-related injuries; therefore, we cannot file to your health insurance unless
the injury is denied by your employer because it is not work-related, or your employer elects to pay out of pocket for
your care. Billing and specific workers? compensation injury related information may be sent to your employer
(Florida Statute Chapter 440).
Motor Vehicle Accidents: According to Florida state laws, ali claims sent for patients being treated due to a motor
vehicle accident will be sent through the individual patient?s auto insurance policy. All claims will be submitted
accarding to the coordination of benefit rules of the primary payer (auto insurance). MD NOW may not file under your
health insurance as a secondary to the aute insurance (per 42 U.S.C. 1395y (b) (2} and 1862(b) (2) (A) (ii) of the Act).
See PIP packet for further details.
Medicare:MD NOW accepts Medicare and follows its guidelines in submitting claims to Medicare and any in-network
Medicare replacement plans. If you do not have a secondary insurance, you will be responsible for your deductible,
coinsurance, and non-covered services. MD NOW will submit to your secondary insurance if we are in-network;
however, depending on your policy, you may be responsible for any remaining balance.
Medicaid: MD NOW does not accept Medicaid, except for a few select HMO plans (Amerigroup, etc.).

By signing on the signature page, { understand and agree to the contents of section Iii
Section {V:
Patient C and Ri nsibilitie
INFORMED CONSENT FOR GENERAL MEDICAL AND MINOR SURGICAL TREATMENT: | hereby authorize MD NOW, the
physician(s), physician assistant(s) and/or the nurse practitioner(s) in charge of my care to administer any treatment,
receive results of tests and services rendered, administer anesthetics and medications, and perform surgical
procedures, laboratory tests {including blood tests for any disease or condition and any genetic test, as appropriate).
i Consent is given for MD NOW to provide these treatments and procedures, as outlined in its list of services provided
{and/or discussed with the provider). Risks and/or benefits will be discussed with the physician(s), physician assistant
{s) and/or the nurse practitioner(s) and/or documented, as appropriate. | acknowledge that | have the opportunity ta
discuss any questions, issues, or concerns with the provider prior to receiving any testing, treatment, or minor
procedure for my condition. Any and all results will remain the property of the patient and shall remain confidential. !
also authorize MD NOW, the physician(s), physician assistant(s), and/or the nurse practitioner(s) in charge of my care
to dispose of any tissues or body parts removed, as deemed necessary or advisable in my diagnosis and treatment. |
understand that no guarantee has been made as to the results of the care, treatment, and/or medications given to
me. | understand that Urgent Care Medicine is not intended to be complete and definitive care and/or treatment, and
as such it is even more important that { follow up with my internal medicine physician, pediatrician, or family
medicine practitioner, and with any and ail specialists recommended to me by MD NOWis staff.
FINANCIAL AGREEMENT: i hereby guarantee payment of all charges incurred for services rendered at MD NOW unless a
current valid authorization for payment is provided by my employer or insurance company. | hereby acknowledge that
if | am over the age of 18 years old, | am personally responsible for any amounts deemed as patient responsibility,
whether | am listed as a dependent of or the policy holder of any insurance plan. In addition, | understand that if | am
the legal representative or custodian of a minor, | assurne any and all financial responsibility resulting from services
rendered to the minor. | understand the cost.of my medical care is dependent upon the nature and complexity of my
illness or injury, and the determination of which can only be established by the physician or medical practitioner in
charge of my care. Additional charges for lab work, x-rays, medications, physical therapy, and pharmacy services may
apply. | understand that any verbal information given to me by center staff regarding MD NOW fees and services is for
informational nurnoses onlv and represents in no wav a contract between MD NOW and me. No verbal contracts have

 

 

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than $1 (one dollar), your account may have a credit balance. The amount will be rounded to the next dollar.
RELEASE OF LIABILITY: in consideration for the rendition of medical services, | hereby voluntarily release, waive, and
discharge MD NOW, their staff, contractors, lessors, heirs, successors, and/or assigns from any and all claims,
demands, damages, costs, loss of services, expenses, compensation, and causes of action of any nature whatsoever
connected with the rendition of medical services which |, my spouse, my heirs, my assigns, my legal representatives,
or my successors may have against any of them arising out of, or in any way growing out of personal injuries or death
having already resulted or to result at any time in the future, whether or not they are in the contemplation of the
parties at the present time. | understand that this waiver includes any claims based on negligence, action or inaction
of MD NOW, their staff, contractors, lessors, heirs, successors, and/or assigns. | understand | have other options to
seek medical treatment elsewhere, but | voluntarily choose to be treated here. | have carefully read this release and
fully understand and agree with its contents. | am aware that this is a release of liability and a contract between
myself and MD NOW and said staff, employees, and contractors, and | sign it of my own free will.
ASSIGNMENT OF BENEFITS: If MD NOW participates with my insurance program(s), | understand that MD NOW, as a
courtesy to me, will submit the charges for my visit to my primary and secondary insurance carriers. | assign payment
directly to MD NOW. | understand that | am financially responsible for any covered or non-covered services which are
not paid by my primary or secondary insurance, Any credit balance resulting from payment of insurance or other
sources may be applied to other accounts owed to MD NOW or physicians by the insured or family.

PRIVATE INSURANCE: | understand that ?insurance? is a contract between my insurance company and me and not a
substitute for payment and that | am responsible for payment of my bill regardless of any insurance company?s
arbitrary determination of usual and customary rates. | hereby acknowledge that if | am over the age of 18 years old, |
am personally responsible for any amounts deemed as patient responsibility, whether | am listed as a dependent of or
the policy holder of any insurance plan. In addition, | understand that if | am the legal representative or custodian of a
minor, | assume any and all financial responsibility resulting from services rendered to the minor. If there is any
question regarding coverage, benefits, or payment for services provided, | understand that it is my responsibility to
resolve it. Furthermore, a fee of $20 shall be applied to my account in the event that my insurance reverses a claim
= | payment for any reason.
Be | FINANCIAL RESPONSIBILITY AND COLLECTION: If my balance is not paid after 60 days, the information necessary for
Be collection purposes will be forwarded to a professional collection agency. Furthermore, refundable credits of less than
§20 will be applied towards any outstanding balances and/or held as credit on account for any future visits unless a
refund is requested. After each year, a fee of $10 may be applied to my delinquent account. Further, in the event of
referral to a collection agency or other third party, | agree to pay a charge of up to 40% of the outstanding principal
amount of any balance not paid after 60 days to cover MD NOW?s and/or any third party?s collection-related costs. In
the event of any dispute regarding payment for services provided, | agree to pay all attorney?s fees and court costs
| incurred at both the trial level and in any appellate court.
| MEDICARE ASSIGNMENT AND AUTHORIZATION TO RELEASE INFORMATION AND PAYMENT REQUEST: | certify that the
information | provided to apply for payment under Title XVIII or Title XIX of the Social Security Act is correct. |
authorize the release of all medical or other information to Social Security Administration. | assign benefits that
payment be made directly to MD NOW for charges that MD NOW may be authorized to bill. | understand that | am
2 | responsible for any deductibles, coinsurances, co-payments, and non-covered services, as applicable.

ij | USES AND DISCLOSURES OF HEALTH INFORMATION: | understand that MD NOW will use and disclose my personal health
| information to provide treatment, process payment claims, and/or as necessary for healthcare operations (e.g.,

a Utilization Review, etc.}, or as required by law. This includes release of information to insurance carriers, third party
a | payers or their agents, ancillary medical providers (e.g., physical therapy, occupational therapy, imaging facilities.
3 etc.}, other medical providers, and law enforcement agencies with any right to privacy waivers, including any

3 | treatment for mental illness, alcohol abuse, drug abuse, and/or HIV, as may be necessary. For details of uses and

| disclosures, refer to MD NOW?s Notice of Privacy Practices.

PATIENT HIPAA FORM: | have been given the opportunity to review MD NOW?s Health Insurance Portability and
Accountability Act Notice of Privacy Practices.
EMAIL NOTIFICATION: | was given the option of fopting in? to receive email communication, patient portal access,
| surveys, and newsletters. | understand that if | provide an email address, | may receive emails from MD NOW.
By signing on the signature page, | understand and agree to the contents of section IV.
Notice About Nondiscrimination and Accessibility Requirements
Section V:

Discrimination is Against the Law
MD Now Urgent Care complies with applicable Federal civil rights laws and does not discriminate on the basis of race,

color, national origin, age, disability, or sex. MD Now Urgent Care does not exclude people or treat them differently

because of race, color, national origin, age, disability, or sex.

MD Now Urgent Care:

Provides free aids and services to people with disabilities te communicate effectively with us, such as:

Qualified sign language interpreters.

Written information in other formats (large print, audio, accessible electronic formats, other formats)
| Provides free language services to people whose primary language is not English, such as
| Qualified interpreters
{
{

 

 

 

infermation written in other languages

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If you believe that MD Now Urgent Care has failed to provide these services or discriminated in another way on the
basis of race, color, national origin, age, disability, or sex, you can file a grievance with: Clinical Quality Assurance
Coordinator, 2007 Palm Beach Lakes Blvd., West Palm Beach, FL 33409, Tel: 561-420-8555, Fax: 561-420-8550, Email:
info@mdnow.com ;
You can file a grievance in person or by mail, fax, or email. If you need help filing a grievance, the Clinical Quality
Assurance Coordinator, is available to help you. You can also file a civil rights complaint with the U.S, Department of
Health and Human Services, Office for Civil Rights, electronically through the Office for Civil Rights Cornplaint Portal,
available at: https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or phone at:
U.S. Department of Health and Human Services, 200 Independence Avenue, SW, Room 509F, HHH Building
Washington, D.C. 20201
1-800-368-1019, 1-860-537-7697 (TDD)
Complaint forms are available at http: //www-hhs.gov/ocr/office/file/index. html

By signing on the signature page, | understand and agree to the contents of section V.

By my signature, | certify that | am the patient or the patient?s legal representative, and | have completely
read and | fully understand and am in agreement with all the consents, releases, responsibilities, and
disclosures contained in this record (Sections |, Hl, ill, iv, & V) and voluntarily execute them. { understand that
the consents regarding my personal health information are subject to revocation at any time, except to the
extent that action has been taken in reliance thereon, and that said consents shall remain in effect until |
choose to revoke them in writing.

 

Signature of Patient or Personal Representative Date
*Please inquire at the front desk if you have any questions regarding the above. Any billing questions, issues,
concerns, or comments, please email info@mymdnow.com, or cali 561-420-8555.

Signed O0n:2019-01-15
06:01:004 \%

 

 

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Summary View for RAYO, MARVELI Page | of 1

. RAYO, MARVELI
a 41 Y old Female, DOB: 11/06/1977
. 3223 NW 11TH CT, MIAMI, FL, US 33127-3219

URGENT CARE vider: Alin, Brel
Provider: A Inc, Brickell

 

 

 

 

Telephone
Encounter
Answered by Martinez, Monica Date: 01/15/2019
Time: 69:10 AM
Caller Monica
Reason Test results
| Message CALLED PATIENT REGARDING ABNORMAL LAB TEST RESULTS AND LEFT A MESSAGE ON

PATIENT'S ANSWERING MACHINE STATING:

We are calling from MD Now Medical Centers to advise them that we have their lab results and they
have the chance to return for their follow up appointment sooner than scheduled if they would like to.
Also, to please contact the office at thier earliest convenience.

 

Patient: RAYO, MARVELI DOB: 11/06/1977 Provider: Alnc, Brickell 01/15/2019
Note generated by eClinicallVorks EMR/PM Software (wvw.eClinicalWorks.com)

SSE Sada SA Sie eee nia

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Summary View for RAYO, MARVELI | Account Number:1557333 Page 1 of 3

| Progress Notes
Patient: RAYO, MARVELI
Account Number: 1557333 Provider: SHRUTI PATEL, MD
DOB: 11/06/1977 Age: 41Y Sex: Female Date: 01/15/2019
Phone: 789-548-6787
Address: 3223 NW 11TH CT, MIAMI, FL-33127-3219

 

 

Subjective:

Chief Complaints:
1, Check for results.

HPI:.
Assessment:
Physical
i Type of Physical: Other (list)
a - Additional details: Pt presents to explain iab results
4 MD note- 41 year old female here to discuss lab results. she is requesitng refills on meds for dm, htn.
" takes metformin 500mg bid, unsure of last aic, does not check bg at home. FBG done in office 148.
currently in between primary care physicians. also requesting refill on lisinopril 2.5mg daily. no chest pain,
dyspnea, palpitations, headaches, vision changes.
ROS:
Constitutional:
Fatigue/Weakness yes. no Muscle Cramps/Spasm. no Shortness of Breath. no Vertigo/Dizziness.
_ no Headaches. no Bleeding. no Loss of appetite/Anorexia.
4 Alleray:
a no Runny nose. no Sinus congestion. no Post-nasal drip.
Cardiology:
ne Chest pain. no Palpitations. no Leg swelling/edema. no Dizziness/Vertigo. no Shortness of
PG no Irregular Beats. no Murmurs.
Endocrinoloay:
no Fatigue.
ENT:
no Cough. no Sore throat. no Nasal congestion.
Gastroenterology:
ho Nausea, no Vomiting. no Abdominal pain. no Diarrhea. no Constipation.
Hematology/Lymph:
no Swollen Lymph Nodes. no Easy bruising.
a Musculoskeletal:
a no Back pain. no Numbness/Tingling. no Neck pain.
Neurology:
ie no Headache. no Numbness and Tingling. no Dizziness/Vertigo. no neck stiffness.
a Opthalmology:
no Diminished vision. no Blurring of vision. no Loss of vision.
Respiratory: :
no Shortness of breath. no Cough. no Wheezing. no Hyperventilation/Tachypneic.

Medical History: HIGH BLOOD PRESSURE, Diabetes mellitus.
Surgical History: CHILD BIRTH .
Family History: Father: deceased. Mother: alive.

Social History:
Smoking/ Tobacco Use Assessment
Srnoking history Patient is a Non-smoker
Interest in quiting Patient is 4 Non-smoker
Aico hol Screening
Did you have a drink containing alcohol in the past year? No
If "Yes": How Often? Monthly or Less

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Summary View for RAYO, MARVELI | Account Number:1557333 Page 2 of 3

Nae

If "Yes": How many drinks did you have day? 0
If "Yes": How often did you have 6 or more drinks on one ocassion? Never

Medications: Taking metformin , Medication List reviewed and reconciled with the patient
Allergies: N.K.D.A.

Objective:

Vitals: Initials MM, BP 122/74, HR 84, RR 18, O2 Sat 100, Temp 98.3, Ht 60, Wt 160 lbs, BMI 31.24 Index,
Pain 0 to 10 (10 worse) 0, Last Tetanus UNK, Preg? Denies, LMP NA.
Examination:

General Examination:
Generali NAD, Normal and Healthy Appearing, Alert & Oriented x 3, Active & Ambulatory.

HEENT PERLA, EOMI, pharynx and tonsils normal, TM's clear, Ear canals normal, nose clear.
Q Oral cavity Normal-no lesions, airway patent.
4 Neck supple, no lymphadenopathy, normal ROM of C-Spine.
2 Heart Normal, RSR, normal $1/S2, No Murmurs.

Lungs CTA/Normal, No Crackles, Rhonchi or Wheezes, good air exchange.

Abdomen soft, NT/ND, BS present, no rebound, guarding or rigidity, no masses felt, no
hepatosplenomegaly.

Neurologic exam No focal deficits/Grossly Intact/Unremarkable, no meningeal signs, gait
normal, normal strength, tone and reflexes, neuromuscular intact.
2 Skin normal, no rash .
a Peripheral pulses normal (2+) bilaterally.
Back no CVA tenderness, normal ROM of spines.

Extremities normal ROM, no clubbing, cyanosis or edema, Muscle tone and Sensations

a normal, NO Homans Sign, all other joints & extremities normal, no obvious abnormality/injury
Es noted.

 

Assessment:
Assessment:
1. Type 2 diabetes mellitus without complication, without long-term current use of insulin - E11.9
a (Primary)
2. Medication refill - 276.0
3. Essential hypertension - 110
4. Other iron deficiency anemia - D50.8

Plan:

a 1. Type 2 diabetes mellitus without complication, without long-term current use of insulin

Start metformin tablet, 500 mg, i tab(s), orally, 2 times a day, 30 day(s), 60, Refills 0 (Zero) .

Notes: patient requesting refills on metofrmin 500mg BID. FBG 148 on recent lab work. unsure of last alc.
is looking to establish care with new pcp.

2. Essential hypertension

Start lisinopril tablet, 2.5 mg, 1 tab(s), orally, once a day, 30 day(s), 30, Refills 0 (Zero) .

Notes: BP well controlled on meds. given refill x1 month.

3. Other iron deficiency anemia

Start ferrous sulfate tablet, 325 mg, 1 tab(s), orally, 2 times a day, 30 day(s), 60 Tablet, Refills 0

(Zero) . ;
Notes: per labs, hgb 10.1 with mcv 71 consistent with iron deficiency anemia. will given ferrous sulfate.
needs to have labs redrawn in 4 weeks with us or pcp. ed precuations given for any signs or symptoms of

bleeding.

4, Others
Notes:

Diabetes is a long-term health problem. It means your body does not make enough insulin. Or it may
mean that your body cannot use the insulin it makes. Insulin is a hormone in your body. It lets blood
sugar (glucose) reach the cells in your body. All of your cells need glucose for fuel. When you have

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Summary View for RAYO, MARVELI | Account Number:1557333 Page 3 of 3

 

diabetes, the glucose in your blood builds up because it cannot get into the cells. This buildup is called

high blood sugar (hyperglycemia}. Your blood sugar level depends on several things. It depends on what
kind of food you eat and how much of it you eat. It also depends on how much exercise you get, and how
a much insulin you have in your body. Eating too much of the wrong kinds of food or not taking diabetes
: medicine on time can cause high blood sugar. Infections can cause high blood sugar even if you are taking
3 medicines correctly. These things can also cause low blood sugar: ,Missing meals, Not eating enough food,
3 Taking too much diabetes medicine. Diabetes can cause serious problems over time if you do not get
a treated. These problems include heart disease, stroke, kidney failure, and blindness. They also include
: nerve pain or loss of feeling in your legs and feet, and gangrene of the feet. By keeping your blood sugar
under control you can prevent or delay these problems. Normal blood sugar levels are 80 to 100 before a
meal and less than 180 in the 1 to 2 hours after a meal. Home Care: Follow these guidelines when caring
for yourself at home: Follow the diet your healthcare provider gives you. Take insulin or other diabetes
medicine exactly as told to. Watch your blood sugar as you are told to. Keep a log of your results. This will
help your provider change your medicines to keep your blood sugar under control. Try to reach your ideal
a weight. You may be able to cut back on or not have to take diabetes medicine if you eat the right foods
and get exercise. Do not smoke. Smoking worsens the effects of diabetes on your circulation. You are
much more likely to have a heart attack if you have diabetes and you smoke. Take good care of your feet.
If you have lost feeling in your feet, you may not see an injury or infection. Check your feet and between
3 your toes at least once a week. Wear a medical alert bracelet or necklace, or carry a card in your wallet
that says you have diabetes. This will help healthcare providers give you the right care if you get very ill
a and cannot tell them that you have diabetes.

 

Preventive:
CMS Survey/Counseling for Meaningful Use, May not be clinically relevant to visit.:
BMI Follow up Plan:
| Above Normal BMI Follow-up *** If above normal BMI - Exercise and Diet Encouraged ***
| Below Normal BMI Follow-up *** If Below Normal BMI - Lifestyle and Diet education Recomended
BOK |
BP Management:
_ Instructions: *** Diet, Lifestyle, treatment and/or referral provided as needed ***

Alcohol Counseling:
' ETOH Consumption: *** Recommendation provided if needed ***
Smoking:
Options for smoke cessation *** if you smoke, ask us about options to quit ***

Follo} Up: Follow up with PCP in 2-3 days for further evaluation Return here or ER IMMEDIATELY if
wors n or no improvement

Billing Information:

Visit Code: 99214 4_Office Visit, Est Pt., Level 4.
proenaare Codes:

Provider: SHRUTI PATEL, MD ;
Patient: RAYO, MARVELI DOB: 11/06/1977 Date: 01/15/2019

Electronically signed by SHRUTI PATEL , MD on 01/15/2019 at 08:30 PM EST
Sign off status: Completed

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